                                                                                   Case 2:21-bk-11188-BB        Doc 18 Filed 02/17/21 Entered 02/17/21 18:40:06           Desc
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                                                                                    1 Marsha A. Houston (SBN 129956)
                                                                                      Christopher O. Rivas (SBN 238765)
                                                                                    2 REED SMITH LLP
                                                                                      355 South Grand Avenue, Suite 2900
                                                                                    3 Los Angeles, CA 90071-1514
                                                                                      Telephone:    213.457.8000
                                                                                    4 Facsimile:    213.457.8080

                                                                                    5 Attorneys for Plaintiff
                                                                                      U.S. Real Estate Credit Holdings III-A, LP
                                                                                    6

                                                                                    7

                                                                                    8
                                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                    9
                                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                                                          LOS ANGELES DIVISION
                 A limited liability partnership formed in the State of Delaware




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                                                                                   12
                                                                                        In re                                             Case No.     2:21-bk-11188-BB
REED SMITH LLP




                                                                                   13
                                                                                        GLENROY COACHELLA, LLC,                           Chapter 11
                                                                                   14
                                                                                                            Debtor.                       DECLARATION OF MARSHA A.
                                                                                   15                                                     HOUSTON IN SUPPORT OF MOTION
                                                                                                                                          FOR THE APPOINTMENT OF A
                                                                                   16                                                     CHAPTER 11 TRUSTEE
                                                                                   17
                                                                                                                                           Date: March 10, 2021
                                                                                   18                                                      Time: 10:00 a.m.
                                                                                                                                           Place: Courtroom 1539
                                                                                   19                                                             255 E. Temple Street
                                                                                                                                                  Los Angeles, CA 90012
                                                                                   20

                                                                                   21                                                     Honorable Sheri Bluebond

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                                                                                                                      DECLARATION OF MARSHA A. HOUSTON
                                                                                   Case 2:21-bk-11188-BB         Doc 18 Filed 02/17/21 Entered 02/17/21 18:40:06                 Desc
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                                                                                    1 I, Marsha A. Houston, declare:

                                                                                    2         1.      I am a partner of Reed Smith LLP, counsel of record for U.S. Real Estate Credit

                                                                                    3 Holdings III-A, LP (“Lender”). I am over the age of 18, and I make this declaration based on my

                                                                                    4 personal knowledge of the matters set forth in this declaration or upon the litigation records of Reed

                                                                                    5 Smith LLP, as counsel of record, and, if called upon to testify, I could and would testify competently

                                                                                    6 thereto.

                                                                                    7         2.      Lender is plaintiff in a civil action pending in the Superior Court of California,

                                                                                    8 County of Riverside (the “Riverside Action”), against numerous parties including Debtor Glenroy

                                                                                    9 Coachella, LLC (the “Debtor”); Force Rubin, LLC; Force Rubin 2, LLC, and Coachella Resort, LLC

                                                                                   10 (collectively, with the Debtor, the “Borrowers”).
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         3.      In the Riverside Action, in response to requests for production, requests for

                                                                                   12 admission, and interrogatories served by Lender on Stuart Rubin, Mr. Rubin responded with
REED SMITH LLP




                                                                                   13 objections and has refused to produce documents. Attached as Exhibit A are true and correct

                                                                                   14 copies of Mr. Rubin’s discovery responses.

                                                                                   15         4.      Likewise, in response to requests for production served by Lender on Stuart Rubin’s

                                                                                   16 partner, Elliot Lander, Mr. Lander responded with objections and has refused to produce documents.

                                                                                   17 Attached as Exhibit B are true and correct copies of Mr. Lander’s discovery responses.

                                                                                   18         5.      On or about December 10, 2020, in connection with a motion by the Debtor to seek a

                                                                                   19 priming lien from EFO Financial in the Riverside Action, I received a declaration made on behalf of

                                                                                   20 the Debtor by Dana Barbera of Colliers International. Attached as Exhibit C is a true and correct

                                                                                   21 copy of Mr. Barbera’s declaration, excluding exhibits not related to Mr. Barbera or his firm’s

                                                                                   22 expertise.

                                                                                   23         6.      Along with Mr. Barbera’s declaration, I also received a declaration from Stuart Rubin

                                                                                   24 filed in the Riverside Action regarding his construction “expertise”. Attached as Exhibit D is a true

                                                                                   25 and correct copy of the excerpted Declaration of Stuart Rubin.

                                                                                   26

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                                                                                                                                        -2-
                                                                                                                      DECLARATION OF MARSHA A. HOUSTON
                                                                                   Case 2:21-bk-11188-BB         Doc 18 Filed 02/17/21 Entered 02/17/21 18:40:06                Desc
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                                                                                    1         I declare under penalty of perjury under the laws of the State of California that the foregoing

                                                                                    2 is true and correct.

                                                                                    3                 Executed at Los Angeles, California on February 17, 2021.

                                                                                    4

                                                                                    5                                               ___________________________________
                                                                                                                                    Marsha A. Houston
                                                                                    6

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                 A limited liability partnership formed in the State of Delaware




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REED SMITH LLP




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                                                                                                                     DECLARATION OF MARSHA A. HOUSTON
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                              Exhibit A
                                                                 Exhibit Page 4
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 1
     Berman Litigation Group
 2   Laurence M. Berman (SBN 93515)
 3   815 Moraga Drive
     Los Angeles, CA 90049
 4   Phone No.: (424) 465-9079
     Fax No.: (310) 454-0868
 5
 6   Attorneys for Defendant Stuart Rubin

 7
 8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                  COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
10
     U.S. REAL ESTATE CREDIT HOLDINGS                   Case No.: RIC1905743
11   III-A, LP, an Irish limited partnership
                                                        DEFENDANT STUART RUBIN’S
12                                                      RESPONSES TO PLAINTIFF U.S. REAL
            Plaintiff,                                  ESTATE CREDIT HOLDINGS III-A, LP’S
13                                                      REQUESTS FOR ADMISSION, SET ONE
            vs.
14                                                      Dept.: 7
     GLENROY COACHELLA, LLC, a                          Judge: Hon. Randall Stamen
15   Delaware limited liability company; et al,         Action Filed: November 19, 2019
                                                        Trial Date: None set
16          Defendants.
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          DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      REQUESTS FOR ADMISSION, SET ONE           Exhibit Page 5
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 1   PROPOUNDING PARTY:             PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP

 2   RESPONDING PARTY:              DEFENDANT STUART RUBIN

 3   SET NO:                        ONE

 4           Pursuant to the provisions of California Code of Civil Procedure §§ 2033.010, et seq.,

 5   Defendant Stuart Rubin (“Defendant” or “Rubin”) hereby responds to Plaintiff U.S. Real Estate

 6   Credit Holdings III-A, LP’s (“Plaintiff” or “Calmwater”), Requests for Admission, Set One, as

 7   follows:

 8                                       GENERAL OBJECTIONS

 9          The following general objections and statements apply to each of the particular Requests

10   propounded by Plaintiff and are hereby incorporated within each response set forth below,

11   whether implicitly or expressly. No specific objection is intended to constitute, and should not be

12   construed as constituting, a waiver of any general objection.

13          1.      Defendant objects to the Requests for Admission on the basis that the instant

14   action is subject to an alternative dispute resolution provision in the loan documents and other

15   agreements entered into between Rubin and Plaintiff. This provision requires that this dispute be

16   resolved by the Referee appointed by this Court. Any discovery in this action must be sought in

17   proceedings before, and under the aegis of, the Referee who is appointed by this Court. A hearing

18   on Defendant’s Motion to Appoint a Referee is scheduled to be heard by this Court on June 3,

19   2020. Plaintiff has previously argued that Defendant has waived its right to have this matter

20   decided by this Referee by participating in this litigation. As a result, Defendant cannot, and will

21   not, substantively respond to discovery in this action until this issue is decided by this Court to

22   avoid any suggestion that he has waived his right to have this matter heard by a Referee.

23          2.      Defendant objects to these Requests to the extent they call for information

24   protected by the attorney-client privilege, the attorney work-product privilege, the litigation

25   privilege, or any other constitutional, statutory or common law privilege or protection. To the

26   extent that Defendant inadvertently produces any information and/or documents protected by the

27   attorney-client privilege, the work product doctrine, the litigation privilege, or any other privilege

28   or protection, such production is not intended to, and shall not operate as, a waiver of any
                                                     -1-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE           Exhibit Page 6
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 1   applicable privilege with respect to that document and/or information, or any other document

 2   and/or information.

 3          3.      Defendant objects to each and each Request for Admission to the extent that it

 4   seeks information constituting proprietary, confidential, privileged, and/or private information

 5   and/or documents subject to privacy rights as set forth in Art. 1, Sec. 1 of the California

 6   Constitution, including the marital communications privilege. Where applicable, Defendant will

 7   not disclose any such information, or information otherwise protected from disclosure by

 8   applicable federal or state law, in response to these Requests for Admission unless ordered to do

 9   so by the Court and/or until the Court enters an appropriate protective order regarding the

10   confidentiality of such information.

11          4.      By these responses, Defendant makes no admission concerning the competency,

12   relevancy, materiality, privilege or admissibility of any of the information sought and reserves its

13   right to make all pertinent evidentiary objections at trial or at any other stage of these

14   proceedings. Defendant's answers are not a waiver of any of the objections set forth herein, or an

15   admission or acknowledgement that such information is relevant to the subject matter of this

16   action. These responses are without prejudice to, and not a waiver of: (a) Defendant's right to

17   contend at trial, or at any other proceeding in this action, that such information is inadmissible,

18   irrelevant, immaterial, or not a proper basis for discovery; and (b) any objection by Defendant to

19   any future use of such information that Plaintiff may attempt to make.

20          5.      Defendant reserves the right to supplement or change these responses should

21   additional information responsive to one or more of these Requests be identified.

22          6.      The foregoing objections are incorporated into each specific response below as

23   though fully set forth therein.

24                    RESPONSES TO REQUESTS FOR ADMISSION, SET ONE

25   REQUEST FOR ADMISSION NO. 1:

26   Admit that upon BORROWERS' default under the LOAN DOCUMENTS and notice thereof to

27   GUARANTORS, the Indemnity and Guaranty Agreement, which is attached as the

28   COMPLAINT as Exhibit 8 is enforceable against GUARANTORS.
                                               -2-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE           Exhibit Page 7
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 1:

 2          In addition to the General Objections which are incorporated herein by this reference,

 3   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 4   proceedings that must take place under the aegis of the Referee, who is appointed to make

 5   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 6   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 7   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 8   claimed that Defendant has waived his right to have this matter referred by participating in this

 9   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

10   decided by the court.

11          Defendant also objects to this Request on the basis that this discovery is stayed by the

12   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

13   REQUEST FOR ADMISSION NO. 2

14   Admit that GUARANTORS breached the Indemnity and Guaranty Agreement, which is attached

15   as Exhibit 8 to the COMPLAINT.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

17          In addition to the General Objections which are incorporated herein by this reference,

18   Defendant objects to this Request on the basis that any discovery in this action must be sought in

19   proceedings that must take place under the aegis of the Referee, who is appointed to make

20   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

21   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

22   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

23   claimed that Defendant has waived his right to have this matter referred by participating in this

24   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

25   decided by the court.

26          Defendant also objects to this Request on the basis that this discovery is stayed by the

27   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

28   REQUEST FOR ADMISSION NO. 3:
                                                      -3-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE           Exhibit Page 8
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 1   Admit that YOU breached the Indemnity and Guaranty Agreement, which is attached as Exhibit 8

 2   to the COMPLAINT.

 3   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

 4          In addition to the General Objections which are incorporated herein by this reference,

 5   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 6   proceedings that must take place under the aegis of the Referee, who is appointed to make

 7   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 8   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 9   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

10   claimed that Defendant has waived his right to have this matter referred by participating in this

11   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

12   decided by the court.

13          Defendant also objects to this Request on the basis that this discovery is stayed by the

14   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

15   REQUEST FOR ADMISSION NO. 4:

16   Admit that upon BORROWERS' default under the LOAN DOCUMENTS and notice thereof to

17   GUARANTORS, the Completion Guaranty Agreement, which is attached as Exhibit 9 to the

18   COMPLAINT is enforceable against GUARANTORS.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

20          In addition to the General Objections which are incorporated herein by this reference,

21   Defendant objects to this Request on the basis that any discovery in this action must be sought in

22   proceedings that must take place under the aegis of the Referee, who is appointed to make

23   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

24   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

25   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

26   claimed that Defendant has waived his right to have this matter referred by participating in this

27   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

28   decided by the court.
                                                      -4-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE           Exhibit Page 9
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 1          Defendant also objects to this Request on the basis that this discovery is stayed by the

 2   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 3   REQUEST FOR ADMISSION NO. 5:

 4   Admit that upon BORROWERS' default under the LOAN DOCUMENTS and notice thereof to

 5   GUARANTORS, the Completion Guaranty Agreement, which is attached as Exhibit 9 to the

 6   COMPLAINT is enforceable against YOU.

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

 8          In addition to the General Objections which are incorporated herein by this reference,

 9   Defendant objects to this Request on the basis that any discovery in this action must be sought in

10   proceedings that must take place under the aegis of the Referee, who is appointed to make

11   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

12   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

13   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

14   claimed that Defendant has waived his right to have this matter referred by participating in this

15   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

16   decided by the court.

17          Defendant also objects to this Request on the basis that this discovery is stayed by the

18   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

19   REQUEST FOR ADMISSION NO. 6:

20   Admit that GUARANTORS breached the Completion Guaranty Agreement, which is attached as

21   Exhibit 9 to the COMPLAINT.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

23          In addition to the General Objections which are incorporated herein by this reference,

24   Defendant objects to this Request on the basis that any discovery in this action must be sought in

25   proceedings that must take place under the aegis of the Referee, who is appointed to make

26   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

27   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

28   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has
                                                    -5-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 10
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 1   claimed that Defendant has waived his right to have this matter referred by participating in this

 2   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 3   decided by the court.

 4          Defendant also objects to this Request on the basis that this discovery is stayed by the

 5   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 6   REQUEST FOR ADMISSION NO. 7:

 7   Admit that YOU breached the Completion Guaranty Agreement, which is attached as Exhibit 9 to

 8   the COMPLAINT.

 9   RESPONSE TO REQUEST FOR ADMISSION NO. 7:

10          In addition to the General Objections which are incorporated herein by this reference,

11   Defendant objects to this Request on the basis that any discovery in this action must be sought in

12   proceedings that must take place under the aegis of the Referee, who is appointed to make

13   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

14   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

15   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

16   claimed that Defendant has waived his right to have this matter referred by participating in this

17   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

18   decided by the court.

19          Defendant also objects to this Request on the basis that this discovery is stayed by the

20   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

21   REQUEST FOR ADMISSION NO. 8:

22   Admit that GUARANTORS misrepresented to PLAINTIFF that they had the requisite

23   qualifications to develop the PROJECT.

24   RESPONSE TO REQUEST FOR ADMISSION NO. 8:

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Request on the basis that any discovery in this action must be sought in

27   proceedings that must take place under the aegis of the Referee, who is appointed to make

28   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements
                                                    -6-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 11
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 1   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 2   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 3   claimed that Defendant has waived his right to have this matter referred by participating in this

 4   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 5   decided by the court.

 6          Defendant also objects to this Request on the basis that this discovery is stayed by the

 7   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 8   REQUEST FOR ADMISSION NO. 9:

 9   Admit that GUARANTORS misrepresented to PLAINTIFF that they had the requisite experience

10   to develop the PROJECT.

11   RESPONSE TO REQUEST FOR ADMISSION NO. 9:

12          In addition to the General Objections which are incorporated herein by this reference,

13   Defendant objects to this Request on the basis that any discovery in this action must be sought in

14   proceedings that must take place under the aegis of the Referee, who is appointed to make

15   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

16   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

17   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

18   claimed that Defendant has waived his right to have this matter referred by participating in this

19   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

20   decided by the court.

21          Defendant also objects to this Request on the basis that this discovery is stayed by the

22   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

23   REQUEST FOR ADMISSION NO. 10:

24   Admit that GUARANTORS misrepresented to PLAINTIFF that they had the requisite knowledge

25   to develop the PROJECT.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 10:

27          In addition to the General Objections which are incorporated herein by this reference,

28   Defendant objects to this Request on the basis that any discovery in this action must be sought in
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           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   proceedings that must take place under the aegis of the Referee, who is appointed to make

 2   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 3   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 4   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 5   claimed that Defendant has waived his right to have this matter referred by participating in this

 6   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 7   decided by the court.

 8          Defendant also objects to this Request on the basis that this discovery is stayed by the

 9   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

10   REQUEST FOR ADMISSION NO. 11:

11   Admit that GUARANTORS used at least some of the funds drawn pursuant to the LOAN for

12   their personal use.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 11:

14          In addition to the General Objections which are incorporated herein by this reference,

15   Defendant objects to this Request on the basis that any discovery in this action must be sought in

16   proceedings that must take place under the aegis of the Referee, who is appointed to make

17   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

18   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

19   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

20   claimed that Defendant has waived his right to have this matter referred by participating in this

21   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

22   decided by the court.

23          Defendant also objects to this Request on the basis that this discovery is stayed by the

24   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

25   REQUEST FOR ADMISSION NO. 12:

26   Admit that GUARANTORS used at least some of the funds drawn pursuant to the LOAN to pay

27   costs unrelated to the PROJECT.

28   RESPONSE TO REQUEST FOR ADMISSION NO. 12:
                                    -8-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1          In addition to the General Objections which are incorporated herein by this reference,

 2   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 3   proceedings that must take place under the aegis of the Referee, who is appointed to make

 4   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 5   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 6   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 7   claimed that Defendant has waived his right to have this matter referred by participating in this

 8   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 9   decided by the court.

10          Defendant also objects to this Request on the basis that this discovery is stayed by the

11   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

12   REQUEST FOR ADMISSION NO. 13:

13   Admit that YOU used at least some of the funds drawn pursuant to the LOAN for YOUR own

14   personal use.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 13:

16          In addition to the General Objections which are incorporated herein by this reference,

17   Defendant objects to this Request on the basis that any discovery in this action must be sought in

18   proceedings that must take place under the aegis of the Referee, who is appointed to make

19   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

20   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

21   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

22   claimed that Defendant has waived his right to have this matter referred by participating in this

23   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

24   decided by the court.

25          Defendant also objects to this Request on the basis that this discovery is stayed by the

26   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

27   REQUEST FOR ADMISSION NO. 14:

28   Admit that YOU used at least some of the bond proceeds from the Mello Roos financing for the
                                                 -9-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   PROJECT for YOUR own personal use.

 2   RESPONSE TO REQUEST FOR ADMISSION NO. 14:

 3          In addition to the General Objections which are incorporated herein by this reference,

 4   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 5   proceedings that must take place under the aegis of the Referee, who is appointed to make

 6   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 7   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 8   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 9   claimed that Defendant has waived his right to have this matter referred by participating in this

10   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

11   decided by the court.

12          Defendant also objects to this Request on the basis that this discovery is stayed by the

13   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

14   REQUEST FOR ADMISSION NO. 15:

15   Admit that YOU used at least some of the bond proceeds from the Mello Roos financing for the

16   PROJECT to pay for costs unrelated to the PROJECT.

17   RESPONSE TO REQUEST FOR ADMISSION NO. 15:

18          In addition to the General Objections which are incorporated herein by this reference,

19   Defendant objects to this Request on the basis that any discovery in this action must be sought in

20   proceedings that must take place under the aegis of the Referee, who is appointed to make

21   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

22   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

23   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

24   claimed that Defendant has waived his right to have this matter referred by participating in this

25   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

26   decided by the court.

27          Defendant also objects to this Request on the basis that this discovery is stayed by the

28   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.
                                                 - 10 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 15
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 1   REQUEST FOR ADMISSION NO. 16:

 2   Admit that PLAINTIFF fully performed all of its obligations under the Indemnity and Guaranty

 3   Agreement, which is attached as Exhibit 8 to the COMPLAINT.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 16:

 5          In addition to the General Objections which are incorporated herein by this reference,

 6   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 7   proceedings that must take place under the aegis of the Referee, who is appointed to make

 8   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 9   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

10   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

11   claimed that Defendant has waived his right to have this matter referred by participating in this

12   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

13   decided by the court.

14          Defendant also objects to this Request on the basis that this discovery is stayed by the

15   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

16   REQUEST FOR ADMISSION NO. 17:

17   Admit that PLAINTIFF fully performed all of its obligations under the Completion Guaranty

18   Agreement, which is attached as Exhibit 9 to the COMPLAINT.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 17:

20          In addition to the General Objections which are incorporated herein by this reference,

21   Defendant objects to this Request on the basis that any discovery in this action must be sought in

22   proceedings that must take place under the aegis of the Referee, who is appointed to make

23   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

24   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

25   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

26   claimed that Defendant has waived his right to have this matter referred by participating in this

27   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

28   decided by the court.
                                                     - 11 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 16
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 1          Defendant also objects to this Request on the basis that this discovery is stayed by the

 2   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 3   REQUEST FOR ADMISSION NO. 18:

 4   Admit that PLAINTIFF fully performed all of its obligations under the LOAN DOCUMENTS,

 5   except for those which were excused by BORROWERS’ breach of the LOAN DOCUMENTS.

 6   RESPONSE TO REQUEST FOR ADMISSION NO. 18:

 7          In addition to the General Objections which are incorporated herein by this reference,

 8   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 9   proceedings that must take place under the aegis of the Referee, who is appointed to make

10   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

11   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

12   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

13   claimed that Defendant has waived his right to have this matter referred by participating in this

14   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

15   decided by the court.

16          Defendant also objects to this Request on the basis that this discovery is stayed by the

17   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

18   REQUEST FOR ADMISSION NO. 19:

19   Admit that YOU knew at the time PLAINTIFF made the LOAN that BORROWERS would need

20   substantially more than $24,4000,000 from PLAINTIFF to Complete the PROJECT.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 19:

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Request on the basis that any discovery in this action must be sought in

24   proceedings that must take place under the aegis of the Referee, who is appointed to make

25   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

26   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

27   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

28   claimed that Defendant has waived his right to have this matter referred by participating in this
                                                   - 12 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 2   decided by the court.

 3          Defendant also objects to this Request on the basis that this discovery is stayed by the

 4   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 5   REQUEST FOR ADMISSION NO. 20:

 6   Admit that YOU knew at the time PLAINTIFF made the LOAN that if BORROWERS had

 7   provided PLAINTFF with the actual cost to complete the PROJECT, PLAINTIFF would not have

 8   entered into the LOAN.

 9   RESPONSE TO REQUEST FOR ADMISSION NO. 20:

10          In addition to the General Objections which are incorporated herein by this reference,

11   Defendant objects to this Request on the basis that any discovery in this action must be sought in

12   proceedings that must take place under the aegis of the Referee, who is appointed to make

13   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

14   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

15   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

16   claimed that Defendant has waived his right to have this matter referred by participating in this

17   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

18   decided by the court.

19          Defendant also objects to this Request on the basis that this discovery is stayed by the

20   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

21   REQUEST FOR ADMISSION NO. 21:

22   Admit that YOU were aware prior to March 28, 2019 that the BUDGET that was submitted to

23   PLAINTIFF contained inaccurate information.

24   RESPONSE TO REQUEST FOR ADMISSION NO. 21:

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Request on the basis that any discovery in this action must be sought in

27   proceedings that must take place under the aegis of the Referee, who is appointed to make

28   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements
                                                   - 13 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 18
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 1   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 2   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 3   claimed that Defendant has waived his right to have this matter referred by participating in this

 4   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 5   decided by the court.

 6          Defendant also objects to this Request on the basis that this discovery is stayed by the

 7   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 8   REQUEST FOR ADMISSION NO. 22:

 9   Admit that YOU were aware prior to March 28, 2019 that the BUDGET that was submitted to

10   PLAINTIFF contained incomplete information.

11   RESPONSE TO REQUEST FOR ADMISSION NO. 22:

12          In addition to the General Objections which are incorporated herein by this reference,

13   Defendant objects to this Request on the basis that any discovery in this action must be sought in

14   proceedings that must take place under the aegis of the Referee, who is appointed to make

15   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

16   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

17   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

18   claimed that Defendant has waived his right to have this matter referred by participating in this

19   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

20   decided by the court.

21          Defendant also objects to this Request on the basis that this discovery is stayed by the

22   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

23   REQUEST FOR ADMISSION NO. 23:

24   Admit that YOU were aware prior to March 28, 2019 that the BUDGET that was submitted to

25   PLAINTIFF contained misleading information.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 23:

27          In addition to the General Objections which are incorporated herein by this reference,

28   Defendant objects to this Request on the basis that any discovery in this action must be sought in
                                                   - 14 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 19
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 1   proceedings that must take place under the aegis of the Referee, who is appointed to make

 2   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 3   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 4   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 5   claimed that Defendant has waived his right to have this matter referred by participating in this

 6   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 7   decided by the court.

 8          Defendant also objects to this Request on the basis that this discovery is stayed by the

 9   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

10   REQUEST FOR ADMISSION NO. 24:

11   Admit that at the time the BUDGET was submitted to PLAINTIFF, BORROWERS were aware

12   that the cost to complete the PROJECT would vastly exceed $37,590,136.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 24:

14          In addition to the General Objections which are incorporated herein by this reference,

15   Defendant objects to this Request on the basis that any discovery in this action must be sought in

16   proceedings that must take place under the aegis of the Referee, who is appointed to make

17   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

18   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

19   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

20   claimed that Defendant has waived his right to have this matter referred by participating in this

21   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

22   decided by the court.

23          Defendant also objects to this Request on the basis that this discovery is stayed by the

24   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

25   REQUEST FOR ADMISSION NO. 25:

26   Admit that at the time the BUDGET was submitted to PLAINTIFF, YOU were aware that the

27   cost to complete the PROJECT would vastly exceed $37,590,136.

28   RESPONSE TO REQUEST FOR ADMISSION NO. 25:
                                   - 15 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1          In addition to the General Objections which are incorporated herein by this reference,

 2   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 3   proceedings that must take place under the aegis of the Referee, who is appointed to make

 4   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 5   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 6   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 7   claimed that Defendant has waived his right to have this matter referred by participating in this

 8   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 9   decided by the court.

10          Defendant also objects to this Request on the basis that this discovery is stayed by the

11   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

12   REQUEST FOR ADMISSION NO. 26:

13   Admit that prior to the time the BUDGET was submitted to PLAINTIFF, YOU had reviewed the

14   BUDGET.

15   RESPONSE TO REQUEST FOR ADMISSION NO. 26:

16          In addition to the General Objections which are incorporated herein by this reference,

17   Defendant objects to this Request on the basis that any discovery in this action must be sought in

18   proceedings that must take place under the aegis of the Referee, who is appointed to make

19   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

20   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

21   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

22   claimed that Defendant has waived his right to have this matter referred by participating in this

23   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

24   decided by the court.

25          Defendant also objects to this Request on the basis that this discovery is stayed by the

26   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

27   REQUEST FOR ADMISSION NO. 27:

28   Admit that prior to the time the BUDGET was submitted et to PLAINTIFF, YOU knew
                                                - 16 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   PLAINTIFF would rely on the BUDGET in determining whether to make the LOAN.

 2   RESPONSE TO REQUEST FOR ADMISSION NO. 27:

 3          In addition to the General Objections which are incorporated herein by this reference,

 4   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 5   proceedings that must take place under the aegis of the Referee, who is appointed to make

 6   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 7   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 8   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 9   claimed that Defendant has waived his right to have this matter referred by participating in this

10   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

11   decided by the court.

12          Defendant also objects to this Request on the basis that this discovery is stayed by the

13   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

14   REQUEST FOR ADMISSION NO. 28:

15   Admit that PLAINTIFF discovered in or around April 2019 that work on the PROJECT had been

16   concealed from PLAINTIFF in that such work was not included in the BUDGET which was

17   submitted to PLAINTIFF.

18   RESPONSE TO REQUEST FOR ADMISSION NO. 28:

19          In addition to the General Objections which are incorporated herein by this reference,

20   Defendant objects to this Request on the basis that any discovery in this action must be sought in

21   proceedings that must take place under the aegis of the Referee, who is appointed to make

22   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

23   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

24   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

25   claimed that Defendant has waived his right to have this matter referred by participating in this

26   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

27   decided by the court.

28          Defendant also objects to this Request on the basis that this discovery is stayed by the
                                                   - 17 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 22
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 1   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 2   REQUEST FOR ADMISSION NO. 29:

 3   Admit that BORROWERS intentionally omitted from the BUDGET which was submitted to

 4   PLAINTIFF material subcontracts for completion of the PROJECT.

 5   RESPONSE TO REQUEST FOR ADMISSION NO. 29:

 6          In addition to the General Objections which are incorporated herein by this reference,

 7   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 8   proceedings that must take place under the aegis of the Referee, who is appointed to make

 9   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

10   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

11   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

12   claimed that Defendant has waived his right to have this matter referred by participating in this

13   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

14   decided by the court.

15          Defendant also objects to this Request on the basis that this discovery is stayed by the

16   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

17   REQUEST FOR ADMISSION NO. 30:

18   Admit that BORROWERS submitted draw requests to PLAINTIFF for funding on the LOAN

19   which materially omitted costs necessary to complete the PROJECT.

20   RESPONSE TO REQUEST FOR ADMISSION NO. 30:

21          In addition to the General Objections which are incorporated herein by this reference,

22   Defendant objects to this Request on the basis that any discovery in this action must be sought in

23   proceedings that must take place under the aegis of the Referee, who is appointed to make

24   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

25   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

26   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

27   claimed that Defendant has waived his right to have this matter referred by participating in this

28   litigation. As a result, Defendant will not substantively respond to discovery until this issue is
                                                     - 18 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   decided by the court.

 2          Defendant also objects to this Request on the basis that this discovery is stayed by the

 3   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 4   REQUEST FOR ADMISSION NO. 31:

 5   Admit that BORROWERS submitted draw requests to PLAINTIFF for funding on the LOAN

 6   which contained material misrepresentations regarding the costs necessary to complete the

 7   PROJECT.

 8   RESPONSE TO REQUEST FOR ADMISSION NO. 31:

 9          In addition to the General Objections which are incorporated herein by this reference,

10   Defendant objects to this Request on the basis that any discovery in this action must be sought in

11   proceedings that must take place under the aegis of the Referee, who is appointed to make

12   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

13   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

14   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

15   claimed that Defendant has waived his right to have this matter referred by participating in this

16   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

17   decided by the court.

18          Defendant also objects to this Request on the basis that this discovery is stayed by the

19   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

20   REQUEST FOR ADMISSION NO. 32:

21   Admit that BORROWERS submitted invoices to PLAINTIFF with draw requests that

22   misrepresented the total amount of work that contractors bad performed on the PROJECT.

23   RESPONSE TO REQUEST FOR ADMISSION NO. 32:

24          In addition to the General Objections which are incorporated herein by this reference,

25   Defendant objects to this Request on the basis that any discovery in this action must be sought in

26   proceedings that must take place under the aegis of the Referee, who is appointed to make

27   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

28   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee
                                                   - 19 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 2   claimed that Defendant has waived his right to have this matter referred by participating in this

 3   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 4   decided by the court.

 5          Defendant also objects to this Request on the basis that this discovery is stayed by the

 6   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 7   REQUEST FOR ADMISSION NO. 33:

 8   Admit that BORROWERS' draw requests which they provided to PLAINTIFF contained

 9   discrepancies in amounts allegedly paid by BORROWERS to the contractors on the PROJECT.

10   RESPONSE TO REQUEST FOR ADMISSION NO. 33:

11          In addition to the General Objections which are incorporated herein by this reference,

12   Defendant objects to this Request on the basis that any discovery in this action must be sought in

13   proceedings that must take place under the aegis of the Referee, who is appointed to make

14   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

15   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

16   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

17   claimed that Defendant has waived his right to have this matter referred by participating in this

18   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

19   decided by the court.

20          Defendant also objects to this Request on the basis that this discovery is stayed by the

21   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

22   REQUEST FOR ADMISSION NO. 34:

23   Admit that Joseph Rubin provided little if any value to the PROJECT yet took a salary from the

24   PROJECT funds as alleged in paragraph 52 of the COMPLAINT.

25   RESPONSE TO REQUEST FOR ADMISSION NO. 34:

26          In addition to the General Objections which are incorporated herein by this reference,

27   Defendant objects to this Request on the basis that any discovery in this action must be sought in

28   proceedings that must take place under the aegis of the Referee, who is appointed to make
                                                   - 20 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 2   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 3   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 4   claimed that Defendant has waived his right to have this matter referred by participating in this

 5   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 6   decided by the court.

 7          Defendant also objects to this Request on the basis that this discovery is stayed by the

 8   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 9   REQUEST FOR ADMISSION NO. 35:

10   Admit that Joseph Rubin was put in charge of overseeing the PROJECT even though he had no

11   significant business experience.

12   RESPONSE TO REQUEST FOR ADMISSION NO. 35:

13          In addition to the General Objections which are incorporated herein by this reference,

14   Defendant objects to this Request on the basis that any discovery in this action must be sought in

15   proceedings that must take place under the aegis of the Referee, who is appointed to make

16   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

17   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

18   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

19   claimed that Defendant has waived his right to have this matter referred by participating in this

20   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

21   decided by the court.

22          Defendant also objects to this Request on the basis that this discovery is stayed by the

23   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

24   REQUEST FOR ADMISSION NO. 36:

25   Admit that Joseph Rubin was put in charge of overseeing the PROJECT even though he had no

26   significant construction management experience.

27   RESPONSE TO REQUEST FOR ADMISSION NO. 36:

28          In addition to the General Objections which are incorporated herein by this reference,
                                                   - 21 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 26
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 1   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 2   proceedings that must take place under the aegis of the Referee, who is appointed to make

 3   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 4   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 5   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 6   claimed that Defendant has waived his right to have this matter referred by participating in this

 7   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 8   decided by the court.

 9          Defendant also objects to this Request on the basis that this discovery is stayed by the

10   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

11   REQUEST FOR ADMISSION NO. 37:

12   Admit that BORROWERS did not disclose to PLAINTIFF that Joseph Rubin would be

13   overseeing construction on the PROJECT prior to the closing of the LOAN.

14   RESPONSE TO REQUEST FOR ADMISSION NO. 37:

15          In addition to the General Objections which are incorporated herein by this reference,

16   Defendant objects to this Request on the basis that any discovery in this action must be sought in

17   proceedings that must take place under the aegis of the Referee, who is appointed to make

18   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

19   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

20   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

21   claimed that Defendant has waived his right to have this matter referred by participating in this

22   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

23   decided by the court.

24          Defendant also objects to this Request on the basis that this discovery is stayed by the

25   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

26   REQUEST FOR ADMISSION NO. 38:

27   Admit that BORROWERS breached the LOAN DOCUMENTS by failing to make monthly debt

28   service due on May 1, 2019.
                                                     - 22 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 27
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 1   RESPONSE TO REQUEST FOR ADMISSION NO. 38:

 2          In addition to the General Objections which are incorporated herein by this reference,

 3   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 4   proceedings that must take place under the aegis of the Referee, who is appointed to make

 5   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 6   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 7   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 8   claimed that Defendant has waived his right to have this matter referred by participating in this

 9   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

10   decided by the court.

11          Defendant also objects to this Request on the basis that this discovery is stayed by the

12   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

13   REQUEST FOR ADMISSION NO. 39:

14   Admit that BORROWERS breached the LOAN DOCUMENTS by failing to make monthly debt

15   service due for all months subsequent to May, 2019.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 39:

17          In addition to the General Objections which are incorporated herein by this reference,

18   Defendant objects to this Request on the basis that any discovery in this action must be sought in

19   proceedings that must take place under the aegis of the Referee, who is appointed to make

20   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

21   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

22   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

23   claimed that Defendant has waived his right to have this matter referred by participating in this

24   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

25   decided by the court.

26          Defendant also objects to this Request on the basis that this discovery is stayed by the

27   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

28   REQUEST FOR ADMISSION NO. 40:
                                                     - 23 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 28
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 1   Admit that BORROWERS breached the LOAN DOCUMENTS by failing to make monthly debt

 2   service due on August 1, 2019.

 3   RESPONSE TO REQUEST FOR ADMISSION NO. 40:

 4          In addition to the General Objections which are incorporated herein by this reference,

 5   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 6   proceedings that must take place under the aegis of the Referee, who is appointed to make

 7   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 8   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 9   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

10   claimed that Defendant has waived his right to have this matter referred by participating in this

11   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

12   decided by the court.

13          Defendant also objects to this Request on the basis that this discovery is stayed by the

14   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

15   REQUEST FOR ADMISSION NO. 41:

16   Admit that BORROWERS breached the LOAN DOCUMENTS by failing to make monthly debt

17   service due for all months subsequent to August, 2019.

18   RESPONSE TO REQUEST FOR ADMISSION NO. 41:

19          In addition to the General Objections which are incorporated herein by this reference,

20   Defendant objects to this Request on the basis that any discovery in this action must be sought in

21   proceedings that must take place under the aegis of the Referee, who is appointed to make

22   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

23   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

24   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

25   claimed that Defendant has waived his right to have this matter referred by participating in this

26   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

27   decided by the court.

28          Defendant also objects to this Request on the basis that this discovery is stayed by the
                                                   - 24 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 29
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 1   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 2   REQUEST FOR ADMISSION NO. 42:

 3   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(A) of

 4   the COMPLAINT by failing to post the deficiency calculated to be approximately

 5   $19,252,951.98.

 6   RESPONSE TO REQUEST FOR ADMISSION NO. 42:

 7          In addition to the General Objections which are incorporated herein by this reference,

 8   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 9   proceedings that must take place under the aegis of the Referee, who is appointed to make

10   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

11   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

12   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

13   claimed that Defendant has waived his right to have this matter referred by participating in this

14   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

15   decided by the court.

16          Defendant also objects to this Request on the basis that this discovery is stayed by the

17   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

18   REQUEST FOR ADMISSION NO. 43:

19   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(C) of

20   the COMPLAINT by misappropriating bond proceeds from the Mello Roos financing for the

21   PROJECT.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 43:

23          In addition to the General Objections which are incorporated herein by this reference,

24   Defendant objects to this Request on the basis that any discovery in this action must be sought in

25   proceedings that must take place under the aegis of the Referee, who is appointed to make

26   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

27   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

28   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has
                                                    - 25 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 30
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 1   claimed that Defendant has waived his right to have this matter referred by participating in this

 2   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 3   decided by the court.

 4          Defendant also objects to this Request on the basis that this discovery is stayed by the

 5   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 6   REQUEST FOR ADMISSION NO. 44:

 7   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(C) of

 8   the COMPLAINT by failing to explain to PLAINTIFF how bond proceeds from the Mello Roos

 9   financing for the PROJECT were spent.

10   RESPONSE TO REQUEST FOR ADMISSION NO. 44:

11          In addition to the General Objections which are incorporated herein by this reference,

12   Defendant objects to this Request on the basis that any discovery in this action must be sought in

13   proceedings that must take place under the aegis of the Referee, who is appointed to make

14   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

15   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

16   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

17   claimed that Defendant has waived his right to have this matter referred by participating in this

18   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

19   decided by the court.

20          Defendant also objects to this Request on the basis that this discovery is stayed by the

21   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

22   REQUEST FOR ADMISSION NO. 45:

23   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(D) of

24   the COMPLAINT by failing to deposit approximately $2,518,486.67 calculated by PLAINTIFF

25   in the interest reserve to cure the interest reserve deficiency pursuant to the LOAN.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 45:

27          In addition to the General Objections which are incorporated herein by this reference,

28   Defendant objects to this Request on the basis that any discovery in this action must be sought in
                                                   - 26 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 31
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 1   proceedings that must take place under the aegis of the Referee, who is appointed to make

 2   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 3   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 4   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 5   claimed that Defendant has waived his right to have this matter referred by participating in this

 6   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 7   decided by the court.

 8          Defendant also objects to this Request on the basis that this discovery is stayed by the

 9   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

10   REQUEST FOR ADMISSION NO. 46:

11   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(E) of

12   the COMPLAINT by breaching the Hotel Licensing Agreement.

13   RESPONSE TO REQUEST FOR ADMISSION NO. 46:

14          In addition to the General Objections which are incorporated herein by this reference,

15   Defendant objects to this Request on the basis that any discovery in this action must be sought in

16   proceedings that must take place under the aegis of the Referee, who is appointed to make

17   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

18   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

19   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

20   claimed that Defendant has waived his right to have this matter referred by participating in this

21   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

22   decided by the court.

23          Defendant also objects to this Request on the basis that this discovery is stayed by the

24   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

25   REQUEST FOR ADMISSION NO. 47:

26   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(E) of

27   the COMPLAINT by breaching the Hotel Management Agreement.

28   RESPONSE TO REQUEST FOR ADMISSION NO. 47:
                                   - 27 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 32
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 1          In addition to the General Objections which are incorporated herein by this reference,

 2   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 3   proceedings that must take place under the aegis of the Referee, who is appointed to make

 4   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 5   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 6   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

 7   claimed that Defendant has waived his right to have this matter referred by participating in this

 8   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 9   decided by the court.

10          Defendant also objects to this Request on the basis that this discovery is stayed by the

11   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

12   REQUEST FOR ADMISSION NO. 48:

13   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(F) of

14   the COMPLAINT by ceasing construction on the PROJECT which allowed construction

15   materials on the PROJECT to waste.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 48:

17          In addition to the General Objections which are incorporated herein by this reference,

18   Defendant objects to this Request on the basis that any discovery in this action must be sought in

19   proceedings that must take place under the aegis of the Referee, who is appointed to make

20   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

21   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

22   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

23   claimed that Defendant has waived his right to have this matter referred by participating in this

24   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

25   decided by the court.

26          Defendant also objects to this Request on the basis that this discovery is stayed by the

27   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

28   REQUEST FOR ADMISSION NO. 49:
                                                     - 28 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 33
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 1   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(G) of

 2   the COMPLAINT by failing to pay property taxes on the PROPERTY.

 3   RESPONSE TO REQUEST FOR ADMISSION NO. 49:

 4          In addition to the General Objections which are incorporated herein by this reference,

 5   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 6   proceedings that must take place under the aegis of the Referee, who is appointed to make

 7   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

 8   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

 9   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

10   claimed that Defendant has waived his right to have this matter referred by participating in this

11   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

12   decided by the court.

13          Defendant also objects to this Request on the basis that this discovery is stayed by the

14   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

15   REQUEST FOR ADMISSION NO. 50:

16   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 53(H) of

17   the COMPLAINT by allowing certain material permits to lapse.

18   RESPONSE TO REQUEST FOR ADMISSION NO. 50:

19          In addition to the General Objections which are incorporated herein by this reference,

20   Defendant objects to this Request on the basis that any discovery in this action must be sought in

21   proceedings that must take place under the aegis of the Referee, who is appointed to make

22   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

23   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

24   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

25   claimed that Defendant has waived his right to have this matter referred by participating in this

26   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

27   decided by the court.

28          Defendant also objects to this Request on the basis that this discovery is stayed by the
                                                   - 29 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 34
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 1   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 2   REQUEST FOR ADMISSION NO. 51:

 3   Admit that BORROWERS breached the LOAN DOCUMENTS as alleged in paragraph 55 of the

 4   COMPLAINT by failing to deposit $61,246.05 in the tax and insurance reserve as required by the

 5   LOAN DOCUMENTS.

 6   RESPONSE TO REQUEST FOR ADMISSION NO. 51:

 7          In addition to the General Objections which are incorporated herein by this reference,

 8   Defendant objects to this Request on the basis that any discovery in this action must be sought in

 9   proceedings that must take place under the aegis of the Referee, who is appointed to make

10   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

11   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

12   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

13   claimed that Defendant has waived his right to have this matter referred by participating in this

14   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

15   decided by the court.

16          Defendant also objects to this Request on the basis that this discovery is stayed by the

17   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

18   REQUEST FOR ADMISSION NO. 52:

19   Admit that as of November 1, 2019 the amount due and payable to cure BORROWER'S default

20   of the LOAN DOCUMENTS was $21,413,976.14, excluding attorneys' fees and costs.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 52:

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Request on the basis that any discovery in this action must be sought in

24   proceedings that must take place under the aegis of the Referee, who is appointed to make

25   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

26   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

27   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

28   claimed that Defendant has waived his right to have this matter referred by participating in this
                                                   - 30 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 35
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 1   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 2   decided by the court.

 3          Defendant also objects to this Request on the basis that this discovery is stayed by the

 4   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 5   REQUEST FOR ADMISSION NO. 53:

 6   Admit that the current fair market value of the PROPERTY is less than $21,413,976.14.

 7   RESPONSE TO REQUEST FOR ADMISSION NO. 53:

 8          In addition to the General Objections which are incorporated herein by this reference,

 9   Defendant objects to this Request on the basis that any discovery in this action must be sought in

10   proceedings that must take place under the aegis of the Referee, who is appointed to make

11   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

12   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

13   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has

14   claimed that Defendant has waived his right to have this matter referred by participating in this

15   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

16   decided by the court.

17          Defendant also objects to this Request on the basis that this discovery is stayed by the

18   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

19   REQUEST FOR ADMISSION NO. 54:

20   Admit that as of November 1, 2019 BORROWERS owed PLAINTIFF $19,619,969.79 23 in

21   principal on the LOAN DOCUMENTS.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 54:

23          In addition to the General Objections which are incorporated herein by this reference,

24   Defendant objects to this Request on the basis that any discovery in this action must be sought in

25   proceedings that must take place under the aegis of the Referee, who is appointed to make

26   decisions in any dispute as agreed upon by Plaintiff in the loan documents and other agreements

27   entered into between Rubin and Plaintiff. A hearing on Defendant’s Motion to Appoint a Referee

28   is scheduled to be heard in the Court in which this action was filed on June 3, 2020. Plaintiff has
                                                    - 31 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 36
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 1   claimed that Defendant has waived his right to have this matter referred by participating in this

 2   litigation. As a result, Defendant will not substantively respond to discovery until this issue is

 3   decided by the court.

 4          Defendant also objects to this Request on the basis that this discovery is stayed by the

 5   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 6
 7   Dated: April 10, 2020                                    Berman Litigation Group

 8
                                                    By:
 9                                                            ______________________________
                                                              Laurence M. Berman
10
                                                              Attorneys for Defendant Stuart Rubin
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           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                       REQUESTS FOR ADMISSION, SET ONE          Exhibit Page 37
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 1
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 2   Laurence M. Berman (SBN 93515)
 3   815 Moraga Drive
     Los Angeles, CA 90049
 4   Phone No.: (424) 465-9079
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 5
 6   Attorneys for Defendant Stuart Rubin

 7
 8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                  COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
10
     U.S. REAL ESTATE CREDIT HOLDINGS                   Case No.: RIC1905743
11   III-A, LP, an Irish limited partnership
                                                        DEFENDANT STUART RUBIN’S
12                                                      RESPONSES TO PLAINTIFF U.S. REAL
            Plaintiff,                                  ESTATE CREDIT HOLDINGS III-A, LP’S
13                                                      REQUESTS FOR PRODUCTION, SET
            vs.                                         ONE
14
     GLENROY COACHELLA, LLC, a                          Dept.: 7
15   Delaware limited liability company; et al,         Judge: Hon. Randall Stamen
                                                        Action Filed: November 19, 2019
16          Defendants.
                                                        Trial Date: None set
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          DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                             REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE Exhibit Page 38
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 1   PROPOUNDING PARTY:             PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP

 2   RESPONDING PARTY:              DEFENDANT STUART RUBIN

 3   SET NO:                        ONE

 4           Pursuant to the provisions of California Code of Civil Procedure §§ 2031.210, et seq.,

 5   Defendant Stuart Rubin (“Defendant” or “Rubin”) hereby responds to U.S. Real Estate Credit

 6   Holdings III-A, LP’s (“Plaintiff” or “Calmwater”), Request for Production, Set One, as follows:

 7                                       GENERAL OBJECTIONS

 8           The following general objections and statements apply to each of the particular Demands

 9   for Production of Documents propounded by Plaintiff and are hereby incorporated within each

10   response set forth below, whether implicitly or expressly. No specific objection is intended to

11   constitute, and should not be construed as constituting, a waiver of any general objection.

12          1.      Defendant objects to the Demand for Production of Documents on the basis that

13   the instant action is subject to an alternative dispute resolution provision in the loan documents

14   and other agreements entered into between Rubin and Plaintiff. This provision requires that this

15   dispute be resolved by the Referee appointed by this Court. Any discovery in this action must be

16   sought in proceedings before, and under the aegis of, the Referee who is appointed by this Court.

17   A hearing on Defendant’s Motion to Appoint a Referee is scheduled to be heard by this Court on

18   June 3, 2020. Plaintiff has previously argued that Defendant has waived its right to have this

19   matter decided by this Referee by participating in this litigation. As a result, Defendant cannot,

20   and will not, substantively respond to discovery in this action until this issue is decided by this

21   Court to avoid any suggestion that he has waived his right to have this matter heard by a Referee.

22           2.     Defendant objects to the Demand for Production of Documents to the extent that it

23   calls for information and/or documents protected by the attorney-client privilege, the work product

24   doctrine, or any other privileges, protections or doctrines of similar effect. To the extent that

25   Defendant inadvertently produces any information and/or documents protected by the attorney-

26   client privilege, the work product doctrine, or any other privilege or protection, including the

27   marital communication privilege, such production is not intended to, and shall not operate as, a

28   waiver of any applicable privilege with respect to that document and/or information, or any other
                                                    -1-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   document and/or information.

 2           3.     Defendant’s responses are not a waiver of any of the objections set forth herein, or

 3   an admission or acknowledgement that such information is relevant to the subject matter of this

 4   action. Further, these responses are without prejudice to, and not a waiver of: (a) Defendant’s

 5   right to contend at trial, or at any other proceeding in this action, that such information is

 6   inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b) any objection by

 7   Defendant to any future use of such information that Plaintiff may attempt to make.

 8           4.     The responses contained herein are provided in good faith effort and supply as

 9   much factual information as is presently known. Defendant shall have no duty, but shall reserve

10   the right, to supplement the responses contained herein as additional facts are ascertained,

11   analyses are made, legal research is completed, and contentions are developed.

12           5.     Each and every one of these General Objections applies to each of Defendant’s

13   responses to the Demand for Production of Documents and is incorporated into each of

14   Defendant’s responses below as though set forth in full therein.

15           6.     Defendant’s responses are not a waiver of any of the objections set forth herein, or

16   an admission or acknowledgement that such information is relevant to the subject matter of this

17   action. Further, these responses are without prejudice to, and not a waiver of: (a) Defendant’s

18   right to contend at trial, or at any other proceeding in this action, that such information is

19   inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b) any objection by

20   Defendant to any future use of such information that Stiffelman may attempt to make.

21           7.     The responses contained herein are provided in good faith effort and supply as

22   much factual information as is presently known. Defendant shall have no duty, but shall reserve

23   the right, to supplement the responses contained herein as additional facts are ascertained,

24   analyses are made, legal research is completed, and contentions are developed.

25           8.     Defendant objects to the Instructions and Definitions to the extent that they require

26   Defendant to take acts not required by the California Code of Civil Procedure or other legal

27   authorities.

28           9.     Each and every one of these General Objections applies to each of Defendant’s
                                                  -2-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   responses to the Demand for Production of Documents and is incorporated into each of

 2   Defendant’s responses below as though set forth in full therein.

 3                  RESPONSES TO REQUESTS FOR PRODUCTION, SET ONE

 4   REQUEST FOR PRODUCTION NO. 1:

 5   All DOCUMENTS referenced by YOU in YOUR response to the form interrogatories, set one,

 6   which were propounded on YOU contemporaneously with these requests for documents.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

 8          In addition to the General Objections which are incorporated herein by this reference,

 9   Defendant objects to this Request on the basis that the parties’ agreement requires that their

10   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

11   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

12   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

13   Defendant has waived his right to have this matter decided by this Referee by participating in this

14   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

15   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

16   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

17   upon by the Plaintiff and Defendant.

18          Defendant also objects to this Request on the basis that this discovery is stayed by the

19   Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

20          Responding Party also objects to the Request to the extent it seeks confidential and/or

21   proprietary information and will not be produced absent a protective order agreed upon by the

22   parties and entered into by the Court.

23          Subject to and without waiving the foregoing objections and after resolution of the

24   Reference motion and the lifting of the stay that is the subject of this action, Defendant responds

25   as follows: Defendant will produce all non-privileged responsive documents in his possession,

26   custody or control a reasonable period of time after Emergency Rule 2 is lifted and counsel for

27   Defendant returns to its office, which is currently closed due to the Governor’s emergency order,

28   and upon the entry of a protective order.
                                                      -3-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 2:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   PLAINTIFF.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 3:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to PLAINTIFF.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 4:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   PLAINTIFF.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 5:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   PLAINTIFF.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -4-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 6:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   the LOAN.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 7:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to the LOAN.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 8:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   the LOAN.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 9:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   the LOAN.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -5-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 10:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   the PROJECT.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 11:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to the PROJECT.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 12:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   the PROJECT.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 13:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   the PROJECT.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -6-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 14:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   the BUDGET.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 15:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to the BUDGET.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 16:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   the BUDGET.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 17:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   the BUDGET.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -7-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 18:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   the use of LOAN funds received from PLAINTIFF.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 19:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and entails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to the use of LOAN funds received from PLAINTIFF.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 20:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   the use of LOAN funds received from PLAINTIFF.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 21:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   the use of LOAN funds received from PLAINTIFF.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -8-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 22:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate to

 4   the cost to complete the PROJECT.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 23:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to the cost to complete the PROJECT.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 24:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate to

18   the cost to complete the PROJECT.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 25:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   the cost to complete the PROJECT.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                       -9-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 26:

 2   All communications (including, but not limited to letters, correspondence, notes, text messages,

 3   facsimiles and emails) exchanged between YOU and Elliot Lander which refer, reflect or relate

 4   any and all budgets for the PROJECT.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

 6          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 7   which is incorporated herein by this reference.

 8   REQUEST FOR PRODUCTION NO. 27:

 9   All communications (including, but not limited to letters, correspondence, notes, text messages,

10   facsimiles and emails) exchanged between YOU and Gary Stiffelman which refer, reflect or

11   relate to any and all budgets for the PROJECT.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 28:

16   All communications (including, but not limited to letters, correspondence, notes, text messages,

17   facsimiles and emails) exchanged between YOU and Joseph Rubin which refer, reflect or relate

18   any and all budgets for the PROJECT.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 29:

23   All communications (including, but not limited to letters, correspondence, notes, text messages,

24   facsimiles and emails) exchanged between YOU and Doug Wall which refer, reflect or relate to

25   any and all budgets for the PROJECT.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

27          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

28   which is incorporated herein by this reference.
                                                    - 10 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   REQUEST FOR PRODUCTION NO. 30:

 2   All DOCUMENTS relating to the cost to complete the PROJECT.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

 4          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 5   which is incorporated herein by this reference.

 6   REQUEST FOR PRODUCTION NO. 31:

 7   All DOCUMENTS that refer, reflect or relate to the fair market value for the PROPERTY.

 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

 9   Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1, which is

10   incorporated herein by this reference.

11   REQUEST FOR PRODUCTION NO. 32:

12   All DOCUMENTS that refer, reflect or relate to any budget for the PROJECT.

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

14          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

15   which is incorporated herein by this reference.

16   REQUEST FOR PRODUCTION NO. 33:

17   All DOCUMENTS that refer, reflect or relate to the use of LOAN funds received from

18   PLAINTIFF.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

20          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

21   which is incorporated herein by this reference.

22   REQUEST FOR PRODUCTION NO. 34:

23   All DOCUMENTS that refer, reflect or relate to providing information to PLAINTIFF to attempt

24   to convince PLAINTIFF to make the LOAN.

25   RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

26          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

27   which is incorporated herein by this reference.

28   REQUEST FOR PRODUCTION NO. 35:
                                                     - 11 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   All DOCUMENTS that refer, reflect or relate to draw requests for the LOAN.

 2   RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

 3          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 4   which is incorporated herein by this reference.

 5   REQUEST FOR PRODUCTION NO. 36:

 6   All DOCUMENTS that refer, reflect or relate to changes in the budget for the PROJECT.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

 8          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 9   which is incorporated herein by this reference.

10   REQUEST FOR PRODUCTION NO. 37:

11   All DOCUMENTS that refer, reflect or relate to changes in the scope of work for the PROJECT.

12   RESPONSE TO REQUEST FOR PRODUCTION NO. 37:

13          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

14   which is incorporated herein by this reference.

15   REQUEST FOR PRODUCTION NO. 38:

16   All drafts of DOCUMENTS that were sent to PLAINTIFF prior to the closing of the LOAN.

17   RESPONSE TO REQUEST FOR PRODUCTION NO. 38:

18          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

19   which is incorporated herein by this reference.

20   REQUEST FOR PRODUCTION NO. 39:

21   All drafts of DOCUMENTS that were sent to PLAINTIFF subsequent to the closing of the

22   LOAN.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 39:

24          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

25   which is incorporated herein by this reference.

26   REQUEST FOR PRODUCTION NO. 40:

27   All communications (including, but not limited to letters, correspondence, notes, text messages,

28   facsimiles and emails) relating to DOCUMENTS that were sent to PLAINTIFF prior to the
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           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1   closing of the LOAN.

 2   RESPONSE TO REQUEST FOR PRODUCTION NO. 40:

 3          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 4   which is incorporated herein by this reference.

 5   REQUEST FOR PRODUCTION NO. 41:

 6   All communications (including, but not limited to letters, correspondence, notes, text messages,

 7   facsimiles and emails) relating to DOCUMENTS that were sent to PLAINTIFF subsequent to the

 8   closing of the LOAN.

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

10          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

11   which is incorporated herein by this reference.

12   REQUEST FOR PRODUCTION NO. 42:

13   All communications (including, but not limited to letters, correspondence, notes, text messages,

14   facsimiles and emails) relating to draw requests for the LOAN.

15   RESPONSE TO REQUEST FOR PRODUCTION NO. 42:

16          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

17   which is incorporated herein by this reference.

18   REQUEST FOR PRODUCTION NO. 43:

19   All communications (including, but not limited to letters, correspondence, notes, text messages,

20   facsimiles and emails) relating to the use of bond proceeds from the Mellos Roos financing for

21   the PROJECT.

22   RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

23          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

24   which is incorporated herein by this reference.

25   REQUEST FOR PRODUCTION NO. 44:

26   All DOCUMENTS relating to the use of bond proceeds from the Mellos Roos financing for the

27   PROJECT.

28   RESPONSE TO REQUEST FOR PRODUCTION NO. 44:
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           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
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 1          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 2   which is incorporated herein by this reference.

 3   REQUEST FOR PRODUCTION NO. 45:

 4   All DOCUMENTS relating to the BORROWERS' receipt of bond proceeds from the Mellos

 5   Roos financing for the PROJECT.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

 7          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 8   which is incorporated herein by this reference.

 9   REQUEST FOR PRODUCTION NO. 46:

10   All communications (including, but not limited to letters, correspondence, notes, text messages,

11   facsimiles and emails) relating to BORROWERS' payment of monthly debt service on the

12   LOAN.

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

14          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

15   which is incorporated herein by this reference.

16   REQUEST FOR PRODUCTION NO. 47:

17   All DOCUMENTS relating to BORROWERS' payment of monthly debt service on the LOAN.

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 47:

19          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

20   which is incorporated herein by this reference.

21   REQUEST FOR PRODUCTION NO. 48:

22   All appraisals for the PROPERTY.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 48:

24          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

25   which is incorporated herein by this reference.

26   REQUEST FOR PRODUCTION NO. 49:

27   All DOCUMENTS which were submitted to the governmental entity which supervises the

28   construction of the PROJECT and which show the cost of the PROJECT.
                                               - 14 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                              REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE Exhibit Page 52
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 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

 2          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 3   which is incorporated herein by this reference.

 4   REQUEST FOR PRODUCTION NO. 50:

 5   All DOCUMENTS which were exchanged with the architect for the PROJECT and which show

 6   the cost of the PROJECT.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 50:

 8          Defendant directs Plaintiff to Defendant’s Response to Request for Production No. 1,

 9   which is incorporated herein by this reference.

10
11   Dated: April 10, 2020                                    Berman Litigation Group

12
                                                    By:
13                                                            ______________________________
                                                              Laurence M. Berman
14
                                                              Attorneys for Defendant Stuart Rubin
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           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                              REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE Exhibit Page 53
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 1
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 7
 8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                  COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
10
     U.S. REAL ESTATE CREDIT HOLDINGS                   Case No.: RIC1905743
11   III-A, LP, an Irish limited partnership
                                                        DEFENDANT STUART RUBIN’S
12                                                      RESPONSES TO PLAINTIFF U.S. REAL
            Plaintiff,                                  ESTATE CREDIT HOLDINGS III-A, LP’S
13                                                      SPECIAL INTERROGATORIES, SET
            vs.                                         ONE
14
     GLENROY COACHELLA, LLC, a                         Dept.: 7
15   Delaware limited liability company; et al,        Judge: Hon. Randall Stamen
                                                       Action Filed: November 19, 2019
16          Defendants.                                Trial Date: None set

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          DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                     SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 54
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 1   PROPOUNDING PARTY:             PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP

 2   RESPONDING PARTY:              DEFENDANT STUART RUBIN

 3   SET NO:                        ONE

 4           Pursuant to the provisions of California Code of Civil Procedure §§ 2030.210, et seq.,

 5   Defendant Stuart Rubin (“Defendant” or “Rubin”) hereby responds to Plaintiff U.S. Real Estate

 6   Credit Holdings III-A, LP’s (“Plaintiff” or “Calmwater”), Special Interrogatories, Set One, as

 7   follows:

 8                                       GENERAL OBJECTIONS

 9          The following general objections and statements apply to each of the particular

10   Interrogatories propounded by Plaintiff and are hereby incorporated within each response set

11   forth below, whether implicitly or expressly. No specific objection is intended to constitute, and

12   should not be construed as constituting, a waiver of any general objection.

13          1.      Defendant objects to the Special Interrogatories on the basis that the instant action

14   is subject to an alternative dispute resolution provision in the loan documents and other

15   agreements entered into between Rubin and Plaintiff. This provision requires that this dispute be

16   resolved by the Referee appointed by this Court. Any discovery in this action must be sought in

17   proceedings before, and under the aegis of, the Referee who is appointed by this Court. A hearing

18   on Defendant’s Motion to Appoint a Referee is scheduled to be heard by this Court on June 3,

19   2020. Plaintiff has previously argued that Defendant has waived its right to have this matter

20   decided by this Referee by participating in this litigation. As a result, Defendant cannot, and will

21   not, substantively respond to discovery in this action until this issue is decided by this Court to

22   avoid any suggestion that he has waived his right to have this matter heard by a Referee.

23          2.      Defendant objects to these Special Interrogatories to the extent they call for

24   information protected by the attorney-client privilege, the attorney work-product privilege, the

25   litigation privilege, or any other constitutional, statutory or common law privilege or protection.

26   To the extent that Defendant inadvertently produces any information and/or documents protected

27   by the attorney-client privilege, the work product doctrine, the litigation privilege, or any other

28   privilege or protection, such production is not intended to, and shall not operate as, a waiver of
                                                      -1-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 55
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 1   any applicable privilege with respect to that document and/or information, or any other document

 2   and/or information.

 3          3.      Defendant objects to each Special Interrogatories to the extent that it seeks

 4   information constituting proprietary, confidential, privileged, and/or private information and/or

 5   documents subject to privacy rights as set forth in Art. 1, Sec. 1 of the California Constitution,

 6   including the marital communications privilege. Where applicable, Defendant will not disclose

 7   any such information, or information otherwise protected from disclosure by applicable federal or

 8   state law, in response to these Form Interrogatories until the Court enters an appropriate

 9   protective order regarding the confidentiality of such information.

10          4.      Defendant reserves the right to supplement or change these responses should

11   additional information responsive to one or more of these Interrogatories be identified.

12          5.      The foregoing objections are incorporated into each specific response below as

13   though fully set forth therein.

14                   RESPONSES TO SPECIAL INTERROGATORIES, SET ONE

15   SPECIAL INTERROGATORY NO. 1

16          IDENTIFY all persons who assisted in the preparation of the BUDGET.

17   RESPONSE TO SPECIAL INTERROGATORY NO. 1

18          In addition to the General Objections which are incorporated herein by this reference,

19   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

20   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

21   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

22   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

23   Defendant has waived his right to have this matter decided by this Referee by participating in this

24   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

25   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

26   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

27   upon by the Plaintiff and Defendant.

28          Defendant further objects to this Interrogatory to the extent it seeks information that is
                                                     -2-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 56
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 1   neither relevant nor likely to lead to the discovery of admissible evidence.

 2   SPECIAL INTERROGATORY NO. 2

 3          For each person identified by YOU in response to the preceding interrogatory, state the

 4   specific role each person played in the preparation of the BUDGET.

 5   RESPONSE TO SPECIAL INTERROGATORY NO. 2

 6          In addition to the General Objections which are incorporated herein by this reference,

 7   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 8   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 9   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

10   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

11   Defendant has waived his right to have this matter decided by this Referee by participating in this

12   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

13   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

14   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

15   upon by the Plaintiff and Defendant.

16          Defendant further objects to this Interrogatory to the extent it seeks information that is

17   neither relevant nor likely to lead to the discovery of admissible evidence.

18   SPECIAL INTERROGATORY NO. 3

19          Explain with particularity, all steps that YOU undertook to ensure that the BUDGET was

20          an accurate estimate of all costs required to complete the PROJECT.

21   RESPONSE TO SPECIAL INTERROGATORY NO. 3

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

24   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

25   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

26   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

27   Defendant has waived his right to have this matter decided by this Referee by participating in this

28   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this
                                                    -3-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 57
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 1   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 2   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 3   upon by the Plaintiff and Defendant.

 4          Defendant further objects to this Interrogatory to the extent it seeks information that is

 5   neither relevant nor likely to lead to the discovery of admissible evidence.

 6   SPECIAL INTERROGATORY NO. 4

 7          Explain with particularity, all steps that BORROWERS undertook to ensure that the

 8          BUDGET was an accurate estimate of all costs required to complete the PROJECT.

 9   RESPONSE TO SPECIAL INTERROGATORY NO. 4

10          In addition to the General Objections which are incorporated herein by this reference,

11   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

12   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

13   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

14   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

15   Defendant has waived his right to have this matter decided by this Referee by participating in this

16   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

17   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

18   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

19   upon by the Plaintiff and Defendant.

20          Defendant further objects to this Interrogatory to the extent it seeks information that is

21   neither relevant nor likely to lead to the discovery of admissible evidence.

22   SPECIAL INTERROGATORY NO. 5

23          Explain with particularity, all steps that GUARANTORS undertook to ensure that the

24          BUDGET was an accurate estimate of all costs required to complete the PROJECT.

25   RESPONSE TO SPECIAL INTERROGATORY NO. 5

26          In addition to the General Objections which are incorporated herein by this reference,

27   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

28   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be
                                                   -4-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 58
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 1   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 2   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 3   Defendant has waived his right to have this matter decided by this Referee by participating in this

 4   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 5   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 6   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 7   upon by the Plaintiff and Defendant.

 8          Defendant further objects to this Interrogatory to the extent it seeks information that is

 9   neither relevant nor likely to lead to the discovery of admissible evidence.

10   SPECIAL INTERROGATORY NO. 6

11          If the BUDGET subsequently turned out not to be an accurate estimate of all costs

12          required to complete the PROJECT, please state all facts which explain the

13          inaccuracy(ies).

14   RESPONSE TO SPECIAL INTERROGATORY NO. 6

15          In addition to the General Objections which are incorporated herein by this reference,

16   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

17   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

18   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

19   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

20   Defendant has waived his right to have this matter decided by this Referee by participating in this

21   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

22   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

23   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

24   upon by the Plaintiff and Defendant.

25          Defendant further objects to this Interrogatory to the extent it seeks information that is

26   neither relevant nor likely to lead to the discovery of admissible evidence.

27   SPECIAL INTERROGATORY NO. 7

28          IDENTIFY all persons with knowledge of why the BUDGET subsequently turned out 26
                                               -5-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 59
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 1          not to reflect all costs required to complete the PROJECT.

 2   RESPONSE TO SPECIAL INTERROGATORY NO. 7

 3          In addition to the General Objections which are incorporated herein by this reference,

 4   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 5   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 6   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 7   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 8   Defendant has waived his right to have this matter decided by this Referee by participating in this

 9   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

10   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

11   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

12   upon by the Plaintiff and Defendant.

13          Defendant further objects to this Interrogatory to the extent it seeks information that is

14   neither relevant nor likely to lead to the discovery of admissible evidence.

15   SPECIAL INTERROGATORY NO. 8

16          State all facts which relate to how any LOAN proceeds were spent (including, but not

17          limited to, the IDENTITY of the recipient of each payment, the date of each payment, the

18          amount of each payment, the specific purpose of each payment, the method of each

19          payment (e.g. check, wire, cash) and the IDENTITY of all persons with knowledge of

20          each payment).

21   RESPONSE TO SPECIAL INTERROGATORY NO. 8

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

24   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

25   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

26   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

27   Defendant has waived his right to have this matter decided by this Referee by participating in this

28   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this
                                                    -6-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 60
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 1   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 2   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 3   upon by the Plaintiff and Defendant.

 4          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 5   violation of CCP § 2060.060(f).

 6   SPECIAL INTERROGATORY NO. 9

 7          State all facts which relate to how any funds from bond proceeds from the Mello Roos

 8          financing for the PROJECT were spent (including, but not limited to, the IDENTITY of

 9          the recipient of each payment, the date of each payment, the amount of each payment, the

10          specific purpose of each payment, the method of each payment (e.g. check, wire, cash)

11          and the IDENTITY of all persons with knowledge of each payment).

12   RESPONSE TO SPECIAL INTERROGATORY NO. 9

13          In addition to the General Objections which are incorporated herein by this reference,

14   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

15   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

16   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

17   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

18   Defendant has waived his right to have this matter decided by this Referee by participating in this

19   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

20   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

21   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

22   upon by the Plaintiff and Defendant.

23          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

24   violation of CCP § 2060.060(f).

25   SPECIAL INTERROGATORY NO. 10

26          If YOU deny that PLAINTIFF has fully performed the Indemnity and Guaranty

27          Agreement, as set forth in paragraph 89 of the COMPLA1NT, state all facts which

28          support, rebut or relate to YOUR denial.
                                                  -7-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 61
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 1   RESPONSE TO SPECIAL INTERROGATORY NO. 10

 2          In addition to the General Objections which are incorporated herein by this reference,

 3   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 4   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 5   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 6   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 7   Defendant has waived his right to have this matter decided by this Referee by participating in this

 8   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 9   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

10   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

11   upon by the Plaintiff and Defendant.

12           Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

13   violation of CCP § 2060.060(f).

14   SPECIAL INTERROGATORY NO. 11

15          If YOU deny that PLAINTIFF has fully performed the Indemnity and Guaranty

16          Agreement, as set forth in paragraph 89 of the COMPLAINT, IDENTIFY all witnesses

17          with information which supports, rebuts or relates to YOUR denial.

18   RESPONSE TO SPECIAL INTERROGATORY NO. 11

19          In addition to the General Objections which are incorporated herein by this reference,

20   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

21   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

22   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

23   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

24   Defendant has waived his right to have this matter decided by this Referee by participating in this

25   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

26   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

27   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

28   upon by the Plaintiff and Defendant.
                                                      -8-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 62
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 1           Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 2   violation of CCP § 2060.060(f).

 3   SPECIAL INTERROGATORY NO. 12

 4          If YOU deny that PLAINTIFF has fulJy performed the Completion Guaranty Agreement,

 5          as set forth in paragraph 99 of the COMPLAINT, state all facts which support, rebut or

 6          relate to YOUR denial.

 7   RESPONSE TO SPECIAL INTERROGATORY NO. 12

 8          In addition to the General Objections which are incorporated herein by this reference,

 9   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

10   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

11   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

12   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

13   Defendant has waived his right to have this matter decided by this Referee by participating in this

14   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

15   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

16   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

17   upon by the Plaintiff and Defendant.

18           Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

19   violation of CCP § 2060.060(f).

20   SPECIAL INTERROGATORY NO. 13

21          If YOU deny that PLAINTIFF has fully performed the Completion Guaranty Agreement,

22          as set forth in paragraph 99 of the COMPLAINT, IDENTIFY all witnesses with

23          information which supports, rebuts or relates to YOUR denial.

24   RESPONSE TO SPECIAL INTERROGATORY NO. 13

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

27   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

28   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to
                                                    -9-
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 63
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 1   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 2   Defendant has waived his right to have this matter decided by this Referee by participating in this

 3   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 4   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 5   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 6   upon by the Plaintiff and Defendant.

 7           Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 8   violation of CCP § 2060.060(f).

 9   SPECIAL INTERROGATORY NO. 14

10          If YOU deny that BORROWERS have defaulted under the LOAN DOCUMENTS, as

11          alleged in paragraph 53 of the COMPLAINT, state all facts that support, rebut or relate to

12          YOUR denial.

13   RESPONSE TO SPECIAL INTERROGATORY NO. 14

14          In addition to the General Objections which are incorporated herein by this reference,

15   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

16   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

17   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

18   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

19   Defendant has waived his right to have this matter decided by this Referee by participating in this

20   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

21   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

22   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

23   upon by the Plaintiff and Defendant.

24           Defendant also objects to this Interrogatory on the basis that this discovery is stayed by

25   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

26          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

27   violation of CCP § 2060.060(f).

28   SPECIAL INTERROGATORY NO. 15
                                                     - 10 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 64
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 1          If YOU deny that BORROWERS have defaulted under the LOAN DOCUMENTS, as

 2          alleged in paragraph 53 of the COMPLAINT, IDENTIFY all witnesses with information

 3          which supports, rebuts or relates to YOUR denial.

 4   RESPONSE TO SPECIAL INTERROGATORY NO. 15

 5          In addition to the General Objections which are incorporated herein by this reference,

 6   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 7   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 8   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 9   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

10   Defendant has waived his right to have this matter decided by this Referee by participating in this

11   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

12   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

13   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

14   upon by the Plaintiff and Defendant.

15           Defendant also objects to this Interrogatory on the basis that this discovery is stayed by

16   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

17          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

18   violation of CCP § 2060.060(f).

19   SPECIAL INTERROGATORY NO. 16

20          If YOU deny that BORROWERS submitted budget information to PLAINTIFF which

21          they knew contained inaccurate information, as set forth in paragraph 39 of the

22          COMPLAINT, state all facts which support, rebut or relate to YOUR denial.

23   RESPONSE TO SPECIAL INTERROGATORY NO. 16

24          In addition to the General Objections which are incorporated herein by this reference,

25   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

26   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

27   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

28   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that
                                                  - 11 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 65
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 1   Defendant has waived his right to have this matter decided by this Referee by participating in this

 2   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 3   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 4   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 5   upon by the Plaintiff and Defendant.

 6          Defendant further objects to this Interrogatory to the extent it seeks information that is

 7   neither relevant nor likely to lead to the discovery of admissible evidence.

 8          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 9   violation of CCP § 2060.060(f).

10   SPECIAL INTERROGATORY NO. 17

11          If YOU deny that BORROWERS submitted budget information to PLAINTFF which they

12          knew contained inaccurate information, as set forth in paragraph 39 of the COMPLAINT,

13          IDENTIFY all witnesses with information which supports, rebuts or relates to YOUR

14          denial.

15   RESPONSE TO SPECIAL INTERROGATORY NO. 17

16          In addition to the General Objections which are incorporated herein by this reference,

17   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

18   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

19   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

20   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

21   Defendant has waived his right to have this matter decided by this Referee by participating in this

22   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

23   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

24   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

25   upon by the Plaintiff and Defendant.

26          Defendant further objects to this Interrogatory to the extent it seeks information that is

27   neither relevant nor likely to lead to the discovery of admissible evidence.

28          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in
                                                   - 12 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 66
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 1   violation of CCP § 2060.060(f).

 2   SPECIAL INTERROGATORY NO. 18

 3          If YOU deny that BORROWERS through their loan broker, Steve Bram at George Smith

 4          Partners submitted to PLAINTIFF via email on March 28, 2019 the BUDGET, itemizing

 5          the costs to complete the PROJECT, exclusive of land costs, were $37,590, 136, as set

 6          forth in paragraph 40 of the COMPLAINT, state all facts which support, rebut or relate to

 7          YOUR denial.

 8   RESPONSE TO SPECIAL INTERROGATORY NO. 18

 9          In addition to the General Objections which are incorporated herein by this reference,

10   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

11   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

12   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

13   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

14   Defendant has waived his right to have this matter decided by this Referee by participating in this

15   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

16   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

17   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

18   upon by the Plaintiff and Defendant.

19           Defendant further objects to this Interrogatory to the extent it seeks information that is

20   neither relevant nor likely to lead to the discovery of admissible evidence.

21          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

22   violation of CCP § 2060.060(f).

23   SPECIAL INTERROGATORY NO. 19

24          If YOU deny that BORROWERS through their loan broker, Steve Bram at George Smith

25          Partners submitted to PLAJNTIFF via email on March 28, 2019 the BUDGET, itemizing

26          the costs to complete the PROJECT, exclusive of land costs, were $37,590, 136, as set

27          forth in paragraph 40 of the COMPLAINT, IDENTIFY all witnesses with information

28          which supports, rebuts or relates to YOUR denial.
                                                   - 13 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 67
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 1   RESPONSE TO SPECIAL INTERROGATORY NO. 19

 2          In addition to the General Objections which are incorporated herein by this reference,

 3   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 4   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 5   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 6   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 7   Defendant has waived his right to have this matter decided by this Referee by participating in this

 8   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 9   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

10   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

11   upon by the Plaintiff and Defendant.

12          Defendant further objects to this Interrogatory to the extent it seeks information that is

13   neither relevant nor likely to lead to the discovery of admissible evidence.

14          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

15   violation of CCP § 2060.060(f).

16   SPECIAL INTERROGATORY NO. 20

17          If YOU deny that the BUDGET represented to PLAINTIFF that BORROWERS would

18          have sufficient funds to complete the PROJECT upon receiving $24,400,000 in loan

19          funding from PLAINTIFF, as set forth in paragraph 41 of the COMPLAINT, state all

20          facts that support, rebut or relate to YOUR denial.

21   RESPONSE TO SPECIAL INTERROGATORY NO. 20

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

24   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

25   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

26   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

27   Defendant has waived his right to have this matter decided by this Referee by participating in this

28   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this
                                                    - 14 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 68
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 1   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 2   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 3   upon by the Plaintiff and Defendant.

 4          Defendant further objects to this Interrogatory to the extent it seeks information that is

 5   neither relevant nor likely to lead to the discovery of admissible evidence.

 6          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 7   violation of CCP § 2060.060(f).

 8   SPECIAL INTERROGATORY NO. 21

 9          If YOU deny that the BUDGET represented to PLAINTIFF that BORROWERS would

10          have sufficient funds to complete the PROJECT upon receiving $24,400,000 in loan

11          funding from PLAINTIFF, as set forth in paragraph 41 of the COMPLAINT, IDENTIFY

12          all witnesses with information which supports, rebuts or relates to YOUR denial.

13   RESPONSE TO SPECIAL INTERROGATORY NO. 21

14          In addition to the General Objections which are incorporated herein by this reference,

15   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

16   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

17   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

18   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

19   Defendant has waived his right to have this matter decided by this Referee by participating in this

20   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

21   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

22   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

23   upon by the Plaintiff and Defendant.

24          Defendant further objects to this Interrogatory to the extent it seeks information that is

25   neither relevant nor likely to lead to the discovery of admissible evidence.

26          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

27   violation of CCP § 2060.060(f).

28   SPECIAL INTERROGATORY NO. 22
                                                     - 15 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 69
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 1          If YOU deny that YOU knew that the BUDGET concealed material information regarding

 2          the actual cost to complete the PROJECT, as alleged in paragraph 42 of the COMPLAINT

 3          state all facts which support, rebut or relate to YOUR denial.

 4   RESPONSE TO SPECIAL INTERROGATORY NO. 22

 5          In addition to the General Objections which are incorporated herein by this reference,

 6   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 7   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 8   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 9   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

10   Defendant has waived his right to have this matter decided by this Referee by participating in this

11   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

12   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

13   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

14   upon by the Plaintiff and Defendant.

15          Defendant further objects to this Interrogatory to the extent it seeks information that is

16   neither relevant nor likely to lead to the discovery of admissible evidence.

17          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

18   violation of CCP § 2060.060(f).

19   SPECIAL INTERROGATORY NO. 23

20          If YOU deny that YOU knew that the BUDGET concealed material information regarding

21          the actual cost to complete the PROJECT, as alleged in paragraph 42 of the

22          COMPLAINT, IDENTIFY all witnesses with information which supports, rebuts or

23          relates to YOUR denial.

24   RESPONSE TO SPECIAL INTERROGATORY NO. 23

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

27   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

28   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to
                                                    - 16 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 70
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 1   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 2   Defendant has waived his right to have this matter decided by this Referee by participating in this

 3   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 4   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 5   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 6   upon by the Plaintiff and Defendant.

 7          Defendant further objects to this Interrogatory to the extent it seeks information that is

 8   neither relevant nor likely to lead to the discovery of admissible evidence.

 9          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

10   violation of CCP § 2060.060(f).

11   SPECIAL INTERROGATORY NO. 24

12          If YOU deny that YOU knew that PLAINTIFF would not have entered into the LOAN

13          had the actual cost to complete the PROJECT been disclosed to PLAINTIFF prior to the

14          time it made the LOAN, as set forth in paragraph 44 of the COMPLAINT, state all facts

15          which support, rebut or relate to YOUR denial.

16   RESPONSE TO SPECIAL INTERROGATORY NO. 24

17          In addition to the General Objections which are incorporated herein by this reference,

18   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

19   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

20   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

21   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

22   Defendant has waived his right to have this matter decided by this Referee by participating in this

23   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

24   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

25   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

26   upon by the Plaintiff and Defendant.

27          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

28   violation of CCP § 2060.060(f).
                                                     - 17 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 71
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 1   SPECIAL INTERROGATORY NO. 25

 2          If YOU deny that YOU knew that PLAINTIFF would not have entered into had the actual

 3   cost to complete the PROJECT been disclosed to PLAINTIFF prior to the time it made the

 4   LOAN, as set forth in paragraph 44 of the COMPLAINT, IDENTIFY all witnesses with

 5   information which supports, rebuts or relates to YOUR denial.

 6   RESPONSE TO SPECIAL INTERROGATORY NO. 25

 7          In addition to the General Objections which are incorporated herein by this reference,

 8   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 9   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

10   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

11   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

12   Defendant has waived his right to have this matter decided by this Referee by participating in this

13   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

14   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

15   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

16   upon by the Plaintiff and Defendant.

17          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

18   violation of CCP § 2060.060(f).

19   SPECIAL INTERROGATORY NO. 26

20          If YOU deny that YOU, along with BORROWERS and Doug Wall prepared a materially

21          misleading BUDGET that aligned with a loan to value ratio which YOU knew

22          PLAINTIFF would accept, as set forth in paragraph 45 of the COMPLAINT, state all

23          facts which support, rebut or relate to YOUR denial.

24   RESPONSE TO SPECIAL INTERROGATORY NO. 26

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

27   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

28   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to
                                                    - 18 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 72
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 1   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 2   Defendant has waived his right to have this matter decided by this Referee by participating in this

 3   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 4   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 5   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 6   upon by the Plaintiff and Defendant.

 7          Defendant further objects to this Interrogatory to the extent it seeks information that is

 8   neither relevant nor likely to lead to the discovery of admissible evidence.

 9          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

10   violation of CCP § 2060.060(f).

11   SPECIAL INTERROGATORY NO. 27

12          If YOU deny that YOU, along with BORROWERS and Doug Wall prepared a materially

13          misleading BUDGET that aligned with a loan to value ratio which YOU knew

14          PLAINTIFF would accept, as set forth in paragraph 45 of the COMPLAINT, IDENTIFY

15          all witnesses with information which supports, rebuts or relates to YOUR denial.

16   RESPONSE TO SPECIAL INTERROGATORY NO. 27

17          In addition to the General Objections which are incorporated herein by this reference,

18   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

19   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

20   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

21   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

22   Defendant has waived his right to have this matter decided by this Referee by participating in this

23   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

24   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

25   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

26   upon by the Plaintiff and Defendant.

27          Defendant further objects to this Interrogatory to the extent it seeks information that is

28   neither relevant nor likely to lead to the discovery of admissible evidence.
                                                      - 19 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 73
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 1          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 2   violation of CCP § 2060.060(f).

 3   SPECIAL INTERROGATORY NO. 28

 4          If YOU deny that YOU knew PLAINTIFF would rely on the BUDGET in deciding

 5          whether to enter into the LOAN, as set forth in paragraph 46 of the COMPLAINT, state

 6          all facts which support, rebut or relate to YOUR denial.

 7   RESPONSE TO SPECIAL INTERROGATORY NO. 28

 8          In addition to the General Objections which are incorporated herein by this reference,

 9   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

10   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

11   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

12   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

13   Defendant has waived his right to have this matter decided by this Referee by participating in this

14   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

15   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

16   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

17   upon by the Plaintiff and Defendant.

18          Defendant further objects to this Interrogatory to the extent it seeks information that is

19   neither relevant nor likely to lead to the discovery of admissible evidence.

20          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

21   violation of CCP § 2060.060(f).

22   SPECIAL INTERROGATORY NO. 29

23          If YOU deny that YOU knew PLAJNTIFF would rely on the BUDGET in deciding

24          whether to enter into the LOAN, as set forth in paragraph 46 of the COMPLAINT,

25          IDENTIFY all witnesses with information which supports, rebuts or relates to YOUR

26          denial.

27   RESPONSE TO SPECIAL INTERROGATORY NO. 29

28          In addition to the General Objections which are incorporated herein by this reference,
                                                   - 20 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 74
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 1   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 2   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 3   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 4   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 5   Defendant has waived his right to have this matter decided by this Referee by participating in this

 6   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 7   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 8   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 9   upon by the Plaintiff and Defendant.

10          Defendant further objects to this Interrogatory to the extent it seeks information that is

11   neither relevant nor likely to lead to the discovery of admissible evidence.

12          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

13   violation of CCP § 2060.060(f).

14   SPECIAL INTERROGATORY NO. 30

15          If YOU deny that YOU knew, at the time the BUDGET was submitted to PLAINTIFF,

16          that PLAINTIFF would reasonably rely on the BUDGET in deciding whether to enter into

17          the LOAN, as set forth in paragraph 46 of the COMPLAINT, state all facts which support,

18          rebut or relate to YOUR denial.

19   RESPONSE TO SPECIAL INTERROGATORY NO. 30

20          In addition to the General Objections which are incorporated herein by this reference,

21   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

22   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

23   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

24   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

25   Defendant has waived his right to have this matter decided by this Referee by participating in this

26   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

27   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

28   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed
                                                    - 21 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 75
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 1   upon by the Plaintiff and Defendant.

 2           Defendant further objects to this Interrogatory to the extent it seeks information that is

 3   neither relevant nor likely to lead to the discovery of admissible evidence.

 4          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 5   violation of CCP § 2060.060(f).

 6   SPECIAL INTERROGATORY NO. 31

 7          If YOU deny that YOU knew, at the time the BUDGET was submitted to PLAINTIFF,

 8          that PLAINTIFF would reasonably rely on the BUDGET in deciding whether to enter into

 9          the LOAN, as set forth in paragraph 46 of the COMPLAINT, IDENTIFY all witnesses

10          with information which supports, rebuts or relates to YOUR denial.

11   RESPONSE TO SPECIAL INTERROGATORY NO. 31

12          In addition to the General Objections which are incorporated herein by this reference,

13   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

14   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

15   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

16   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

17   Defendant has waived his right to have this matter decided by this Referee by participating in this

18   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

19   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

20   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

21   upon by the Plaintiff and Defendant.

22          Defendant further objects to this Interrogatory to the extent it seeks information that is

23   neither relevant nor likely to lead to the discovery of admissible evidence.

24          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

25   violation of CCP § 2060.060(f).

26   SPECIAL INTERROGATORY NO. 32

27          If YOU deny that after the LOAN closed, Doug Wall undertook work to complete the

28          PROJECT that was not disclosed to PLAINTIFF to conceal the true cost of the
                                                - 22 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 76
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 1          PROJECT, as set forth in paragraph 47 of the COMPLAINT, state all facts which support,

 2          rebut or relate to YOUR denial.

 3   RESPONSE TO SPECIAL INTERROGATORY NO. 32

 4          In addition to the General Objections which are incorporated herein by this reference,

 5   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 6   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 7   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 8   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 9   Defendant has waived his right to have this matter decided by this Referee by participating in this

10   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

11   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

12   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

13   upon by the Plaintiff and Defendant.

14          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

15   violation of CCP § 2060.060(f).

16   SPECIAL INTERROGATORY NO. 33

17          If YOU deny that after the LOAN closed, Doug Wall undertook work to complete the

18          PROJECT that was not disclosed to PLAINTIFF to conceal the true cost of the

19          PROJECT, as set forth in paragraph 47 of the COMPLAINT, IDENTIFY all witnesses

20          with information which supports, rebuts or relates to YOUR denial.

21   RESPONSE TO SPECIAL INTERROGATORY NO. 33

22          In addition to the General Objections which are incorporated herein by this reference,

23   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

24   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

25   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

26   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

27   Defendant has waived his right to have this matter decided by this Referee by participating in this

28   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this
                                                    - 23 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 77
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 1   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 2   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 3   upon by the Plaintiff and Defendant.

 4          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 5   violation of CCP § 2060.060(f).

 6   SPECIAL INTERROGATORY NO. 34

 7          If YOU deny that BORROWER'S post-closing draw Interrogatorys contained unexplained

 8          discrepancies in amounts allegedly paid by BORROWERS· to various contractors on the

 9          PROJECT, as set forth in paragraph 50 of the COMPLAINT, state all facts which support,

10          rebut or relate to YOUR denial.

11   RESPONSE TO SPECIAL INTERROGATORY NO. 34

12          In addition to the General Objections which are incorporated herein by this reference,

13   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

14   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

15   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

16   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

17   Defendant has waived his right to have this matter decided by this Referee by participating in this

18   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

19   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

20   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

21   upon by the Plaintiff and Defendant.

22          Defendant objects to this Interrogatory on the basis that it is vague and ambiguous as it

23   fails to specify with reasonable particularity the information sought.

24          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

25   violation of CCP § 2060.060(f).

26   SPECIAL INTERROGATORY NO. 35

27          If YOU deny that BORROWER'S post-closing draw requem contained unexplained

28          discrepancies in amounts allegedly paid by BORROWERS to various contractors on the
                                                  - 24 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 78
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 1          PROJECT, as set forth in paragraph 50 of the COMPLAINT, IDENTIFY all witnesses

 2          with information which supports, rebuts or relates to YOUR denial.

 3   RESPONSE TO SPECIAL INTERROGATORY NO. 35

 4          In addition to the General Objections which are incorporated herein by this reference,

 5   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 6   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 7   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 8   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 9   Defendant has waived his right to have this matter decided by this Referee by participating in this

10   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

11   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

12   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

13   upon by the Plaintiff and Defendant.

14          Defendant objects to this Interrogatory on the basis that it is vague and ambiguous as it

15   fails to specify with reasonable particularity the information sought.

16          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

17   violation of CCP § 2060.060(f).

18   SPECIAL INTERROGATORY NO. 36

19          If YOU deny that at the time the BUDGET was provided to PLAINTIFF, YOU knew that

20          the actual budget to complete the PROJECT, exclusive of land costs, was substantially

21          more than the amount disclosed in the BUDGET, state all facts which support, rebut or

22          relate to YOUR denial.

23   RESPONSE TO SPECIAL INTERROGATORY NO. 36

24          In addition to the General Objections which are incorporated herein by this reference,

25   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

26   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

27   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

28   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that
                                                  - 25 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 79
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 1   Defendant has waived his right to have this matter decided by this Referee by participating in this

 2   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 3   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 4   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 5   upon by the Plaintiff and Defendant.

 6          Defendant further objects to this Interrogatory to the extent it seeks information that is

 7   neither relevant nor likely to lead to the discovery of admissible evidence.

 8          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 9   violation of CCP § 2060.060(f).

10   SPECIAL INTERROGATORY NO. 37

11          If YOU deny that at the time the BUDGET was provided to PLAINTIFF, YOU knew that

12          the actual budget to complete the PROJECT, exclusive of land costs, was substantially

13          more than the amount disclosed in the BUDGET, IDENTIFY all witnesses with

14          information.

15   RESPONSE TO SPECIAL INTERROGATORY NO. 37

16          In addition to the General Objections which are incorporated herein by this reference,

17   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

18   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

19   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

20   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

21   Defendant has waived his right to have this matter decided by this Referee by participating in this

22   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

23   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

24   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

25   upon by the Plaintiff and Defendant.

26          Defendant further objects to this Interrogatory to the extent it seeks information that is

27   neither relevant nor likely to lead to the discovery of admissible evidence.

28   SPECIAL INTERROGATORY NO. 38
                                                     - 26 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 80
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 1          If YOU deny that as of November 1, 2019, BORROWERS owed a principal sum of

 2          $19,619,969.79 to PLAINTIFF pursuant to the LOAN DOCUMENTS, as alleged in

 3          paragraph 58 of the COMPLAINT, state all facts which support, rebut or relate to YOUR

 4          denial.

 5   RESPONSE TO SPECIAL INTERROGATORY NO. 38

 6          In addition to the General Objections which are incorporated herein by this reference,

 7   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 8   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 9   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

10   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

11   Defendant has waived his right to have this matter decided by this Referee by participating in this

12   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

13   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

14   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

15   upon by the Plaintiff and Defendant.

16          Defendant also objects to this Interrogatory on the basis that this discovery is stayed by

17   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

18          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

19   violation of CCP § 2060.060(f).

20   SPECIAL INTERROGATORY NO. 39

21          If YOU deny that as of November 1, 2019, BORROWERS owed a principal sum of

22          $19,619,969.79 to PLAINTIFF pursuant to the LOAN DOCUMENTS, as alleged in

23          paragraph 58 of the COMPLAINT, IDENTIFY all witnesses with information that

24          supports, rebuts or relates to YOUR denial.

25   RESPONSE TO SPECIAL INTERROGATORY NO. 39

26          In addition to the General Objections which are incorporated herein by this reference,

27   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

28   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be
                                                  - 27 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 81
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 1   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 2   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 3   Defendant has waived his right to have this matter decided by this Referee by participating in this

 4   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 5   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 6   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 7   upon by the Plaintiff and Defendant.

 8          Defendant also objects to this Interrogatory on the basis that this discovery is stayed by

 9   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

10          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

11   violation of CCP § 2060.060(f).

12   SPECIAL INTERROGATORY NO. 40

13          If YOU deny that as of November 1, 2019, the amount due and payable to PLAINTIFF to

14          cure BORROWERS' default on the LOAN DOCUMENTS was $21,413,976.14, not

15          including attorneys' fees, as set forth in paragraph 58 of the COMPLAINT, state all facts

16          which support, rebut or relate to YOUR denial.

17   RESPONSE TO SPECIAL INTERROGATORY NO. 40

18          In addition to the General Objections which are incorporated herein by this reference,

19   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

20   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

21   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

22   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

23   Defendant has waived his right to have this matter decided by this Referee by participating in this

24   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

25   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

26   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

27   upon by the Plaintiff and Defendant.

28          Defendant also objects to this Interrogatory on the basis that this discovery is stayed by
                                                   - 28 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 82
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 1   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

 2          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 3   violation of CCP § 2060.060(f).

 4   SPECIAL INTERROGATORY NO. 41

 5          If YOU deny that as of November 1, 2019, the amount due and payable to PLAINTIFF to

 6          cure BORROWERS' default on the LOAN DOCUMENTS was $21,413,976.14, not

 7          including attorneys' fees, as alleged in paragraph 58 of the COMPLAINT, IDENTIFY all

 8          witnesses with information that supports, rebuts or relates to YOUR denial.

 9   RESPONSE TO SPECIAL INTERROGATORY NO. 41

10          In addition to the General Objections which are incorporated herein by this reference,

11   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

12   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

13   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

14   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

15   Defendant has waived his right to have this matter decided by this Referee by participating in this

16   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

17   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

18   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

19   upon by the Plaintiff and Defendant.

20          Defendant also objects to this Interrogatory on the basis that this discovery is stayed by

21   the Emergency Rule 2 issued by the California Judicial Council in response to the pandemic.

22          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

23   violation of CCP § 2060.060(f).

24   SPECIAL INTERROGATORY NO. 42

25          If YOU deny that at the time Joseph Rubin was placed in charge of overseeing the

26          PROJECT, he had no prior experience in construction management, as alleged in

27          paragraph 51 of the COMPLAINT, state all facts which support, rebut or relate to YOUR

28          denial.
                                                     - 29 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 83
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 1   RESPONSE TO SPECIAL INTERROGATORY NO. 42

 2          In addition to the General Objections which are incorporated herein by this reference,

 3   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 4   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 5   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 6   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 7   Defendant has waived his right to have this matter decided by this Referee by participating in this

 8   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 9   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

10   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

11   upon by the Plaintiff and Defendant.

12          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

13   violation of CCP § 2060.060(f).

14   SPECIAL INTERROGATORY NO. 43

15          If YOU deny that at the time Joseph Rubin was placed in charge of overseeing the

16          PROJECT, he had no prior experience in construction management, as alleged in

17          paragraph 51 of the COMPLAINT, IDENTIFY all witnesses with information which

18          supports, rebuts or relates to YOUR denial.

19   RESPONSE TO SPECIAL INTERROGATORY NO. 43

20          In addition to the General Objections which are incorporated herein by this reference,

21   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

22   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

23   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

24   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

25   Defendant has waived his right to have this matter decided by this Referee by participating in this

26   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

27   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

28   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed
                                                    - 30 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 84
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 1   upon by the Plaintiff and Defendant.

 2          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

 3   violation of CCP § 2060.060(f).

 4   SPECIAL INTERROGATORY NO. 44

 5          If YOU deny that by reason of BORROWER'S defaults under the LOAN DOCUMENTS,

 6          GUARANTORS are indebted to PLAINTIFF in the sum of not less than $21,413,976.14

 7          pursuant to the Indemnity and Guaranty Agreement, as alleged in paragraph 90 of the

 8          COMPLAINT, state all facts which support, rebut or relate to YOUR denial.

 9   RESPONSE TO SPECIAL INTERROGATORY NO. 44

10          In addition to the General Objections which are incorporated herein by this reference,

11   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

12   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

13   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

14   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

15   Defendant has waived his right to have this matter decided by this Referee by participating in this

16   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

17   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

18   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

19   upon by the Plaintiff and Defendant.

20          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

21   violation of CCP § 2060.060(f).

22   SPECIAL INTERROGATORY NO. 45

23          If YOU deny that by reason of BORROWER'S defaults under the LOAN DOCUMENTS,

24   GUARANTORS are indebted to PLAINTIFF in the sum of not less than $21,413,976.14 pursuant

25   to the Indemnity and Guaranty Agreement, as alleged in paragraph 90 of the COMPLAINT,

26   IDENTIFY all witnesses with information which supports, rebuts or relates to YOUR denial.

27   RESPONSE TO SPECIAL INTERROGATORY NO. 45

28          In addition to the General Objections which are incorporated herein by this reference,
                                                   - 31 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 85
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 1   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 2   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 3   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 4   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 5   Defendant has waived his right to have this matter decided by this Referee by participating in this

 6   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 7   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 8   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 9   upon by the Plaintiff and Defendant.

10          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

11   violation of CCP § 2060.060(f).

12   SPECIAL INTERROGATORY NO. 46

13          If YOU deny that by reason of BORROWER'S defaults under the LOAN DOCUMENTS,

14          GUARANTORS are indebted to PLAINTIFF in the sum of not less than $31,500,00

15          pursuant to the Completion Guaranty Agreement, as alleged in paragraph 102 of the

16          COMPLAINT, state all facts which support, rebut or relate to YOUR denial.

17   RESPONSE TO SPECIAL INTERROGATORY NO. 46

18          In addition to the General Objections which are incorporated herein by this reference,

19   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

20   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

21   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

22   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

23   Defendant has waived his right to have this matter decided by this Referee by participating in this

24   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

25   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

26   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

27   upon by the Plaintiff and Defendant.

28          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in
                                                   - 32 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 86
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 1   violation of CCP § 2060.060(f).

 2   SPECIAL INTERROGATORY NO. 47

 3          If YOU deny that by reason of BORROWER'S defaults under the LOAN DOCUMENTS,

 4          GUARANTORS are indebted to PLAINTIFF in the sum of not less than $31,500,000

 5          pursuant to the Completion Guaranty Agreement, as alleged in paragraph 102 of the

 6          COMPLAINT, IDENTIFY all witnesses with information which supports, rebuts or

 7          relates to YOUR denial.

 8   RESPONSE TO SPECIAL INTERROGATORY NO. 47

 9          In addition to the General Objections which are incorporated herein by this reference,

10   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

11   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

12   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

13   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

14   Defendant has waived his right to have this matter decided by this Referee by participating in this

15   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

16   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

17   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

18   upon by the Plaintiff and Defendant.

19          Defendant objects that this Interrogatory is compound, conjunctive, or disjunctive in

20   violation of CCP § 2060.060(f).

21   SPECIAL INTERROGATORY NO. 48

22          What specific efforts, if any, have YOU made to secure additional funds to complete the

23          PROJECT?

24   RESPONSE TO SPECIAL INTERROGATORY NO. 48

25          In addition to the General Objections which are incorporated herein by this reference,

26   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

27   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

28   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to
                                                    - 33 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 87
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 1   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 2   Defendant has waived his right to have this matter decided by this Referee by participating in this

 3   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 4   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 5   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

 6   upon by the Plaintiff and Defendant.

 7          Defendant further objects to this Interrogatory to the extent it seeks information that is

 8   neither relevant nor likely to lead to the discovery of admissible evidence.

 9   SPECIAL INTERROGATORY NO. 49

10          What specific efforts, if any, have BORROWERS made to secure additional funds to

11          complete the PROJECT?

12   RESPONSE TO SPECIAL INTERROGATORY NO. 49

13          In addition to the General Objections which are incorporated herein by this reference,

14   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

15   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

16   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

17   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

18   Defendant has waived his right to have this matter decided by this Referee by participating in this

19   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

20   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

21   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

22   upon by the Plaintiff and Defendant.

23          Defendant further objects to this Interrogatory to the extent it seeks information that is

24   neither relevant nor likely to lead to the discovery of admissible evidence.

25   SPECIAL INTERROGATORY NO. 50

26          What specific efforts, if any, have GUARANTORS made to secure additional funds to

27          complete the PROJECT?

28   RESPONSE TO SPECIAL INTERROGATORY NO. 50
                                   - 34 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 88
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 1          In addition to the General Objections which are incorporated herein by this reference,

 2   Defendant objects to this Interrogatory on the basis that the parties’ agreement requires that their

 3   dispute be decided by the Referee appointed by this Court. Any discovery in this action must be

 4   sought in the proceedings under the aegis of this Referee. A hearing on Defendant’s Motion to

 5   Appoint a Referee will be decided by this Court on June 3, 2020. Plaintiff previously argued that

 6   Defendant has waived his right to have this matter decided by this Referee by participating in this

 7   litigation. For these reasons, Defendant cannot, and will not, substantively respond to this

 8   discovery until this Reference issue is decided by this Court. Defendant cannot respond and then

 9   have Plaintiff argue that he has waived his right to have this matter heard by a Referee as agreed

10   upon by the Plaintiff and Defendant.

11          Defendant further objects to this Interrogatory to the extent it seeks information that is

12   neither relevant nor likely to lead to the discovery of admissible evidence.

13
14   Dated: April 10, 2020                                    Berman Litigation Group

15
                                                    By:
16                                                            ______________________________
                                                              Laurence M. Berman
17
                                                              Attorneys for Defendant Stuart Rubin
18
19
20
21
22
23
24
25
26
27
28
                                                     - 35 -
           DEFENDANT STUART RUBIN’S RESPONSES TO PLAINTIFF U.S. REAL ESTATE CREDIT HOLDINGS III-A, LP’S
                                      SPECIAL INTERROGATORIES, SET ONE          Exhibit Page 89
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                               Exhibit B
                                                                Exhibit Page 90
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      LAW OFFICES OF MARVIN H. WEISS
  1   Marvin H. Weiss (SBN 35735)
      74-075 El Paseo, A-5
  2   Palm Desert, California 92260-4145
      Telephone: (760) 340-2500
  3   Fax: (760) 462-3815
  4
      Attorneys for Defendants Elliot Lander
  5   and Coachella Resort, LLC
  6
  7
  8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
 10
 11   US REAL ESTATE CREDIT HOLDINGS        |          Case No: RIC1905743
                                            |
      III-A, LP, an Irish limited partnership,
 12                                         |            DEFENDANT ELLIOT LANDER’S
              Plaintiff,                    |            RESPONSES TO REQUEST FOR
 13                                         |
                                            |            PRODUCTION OF DOCUMENTS,
              v.                                         SET ONE, PROPOUNDED BY
 14                                         |
      GLENROY COACHELLA, LLC, a Delaware |               PLAINTIFF
 15   limited liability company, et al.     |
                                            |          Judge: Hon. Sunshine S. Sykes
 16                                         |
              Defendants.                   |
 17   _____________________________________ |
 18
 19
            PARTY PROPOUNDING:            Plaintiff U.S. REAL ESTATE CREDIT HOLDINGS III-A,
 20
      LP (“Propounding Party”)
 21
            PARTY RESPONDING: Defendant DR. ELLIOT LANDER (“Responding Party”)
 22
              SET NUMBER:                        One
 23
              Pursuant to California Code of Civil Procedure § 2031.210, Responding Party hereby
 24
      responds to Request for Production of Documents, Set Number One propounded by Propounding
 25
      Party as follows:
 26
      ///
 27
      ///
 28


               ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                            Exhibit Page 91
                                                Page 1 of 9
Case 2:21-bk-11188-BB       Doc 18 Filed 02/17/21 Entered 02/17/21 18:40:06                 Desc
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  1                                   PRELIMINARY STATEMENT
  2          Defendants Elliot B. Lander and Coachella Resort LLC obtained several extensions to
  3   respond to the complex detailed gauntlet of Discovery Requests made of them during 2020,
  4   mostly to be determined after a full and complete Status Conference. Thereafter the Court on
  5   virtually all occasions kept continuing the Status Conferences due to COVID-19 and its effects
  6   on the Court’s calendar.
  7          In November 2020 Plaintiff’s prior counsel was compelled to withdraw due to conflicts
  8   of interest. One of Plaintiff’s new attorneys, Chris O. Rivas and undersigned counsel for Elliot
  9   Lander had a discussion and on January 8, 2021 it was agreed that an additional period of time
 10   would be extended to February 5, 2021. It was indicated that such would be the last voluntary
 11   continuance. Elliot Lander individually and on behalf of his entity Coachella Resort, LLC were
 12   fully prepared to respond in good faith to the multiple Discovery vehicles which were pending.
 13          Dr. Lander was struck with COVID-19, on or about January 1, 2021. His case was
 14   severe, and he was very ill for approximately 25 days. During much of that time Dr. Lander was
 15   feverish, coughed uncontrollably, had difficulty breathing, was severely deprived of sleep, losing
 16   approximately 10% of his body weight. While he is no longer contagious, post recovery he
 17   remains weak, unable to concentrate for period of time and has yet to return to his pre-existing
 18   medical practice.
 19          The above was shared with Mr. Rivas, who was unable to voluntarily give any further
 20   extensions.
 21          This Responding Party has not fully completed his investigation of the facts relating to
 22   this case, nor has Responding Party fully completed discovery in this action, nor completed
 23   preparation for trial. All of the answers contained herein are based upon information and
 24   presently available to and specifically known to this Responding Party. This may include hearsay
 25   and other forms of evidence, and it may be that further discovery, independent investigation and
 26   analysis will supply additional facts. The following responses to the Request for Production are
 27   given without prejudice of any subsequently discovered fact or facts. This Responding Party
 28   accordingly reserves the right to change any or all of its responses herein as additional facts and


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                                Exhibit Page 92
                                                  Page 2 of 9
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  1   information are discovered or are ascertained. The responses contained herein are made in a
  2   good faith effort to supply as much factual information as is presently known but should in no
  3   way be to the prejudice of this Responding Party in relation to further discovery.
  4          Responding Party reserves the right to make use of, or introduce at any hearing or at trial,
  5   facts not known to exist at the time this response, including, but not limited to, do facts and
  6   information not obtained in the course of discovery in this action.
  7                                        COVID OBJECTIONS
  8           1.     On the basis of his incontestable severe COVID-19 infection and present post
  9   COVID-19 syndrome, Responding Party objects to these discovery requests at this time as he is
 10   unable to put in the extended time and concentration necessary to properly respond to the
 11   discovery requests being sought, nor the present ability to find proper responses not in his
 12   immediate knowledge. Lastly, for all the above stated reasons he is unable to sign any
 13   Verification responding to the queries posed. Dr. Lander on such basis objects to all the
 14
      Discovery Requests.
 15
              2.     Although Responding Party could conceivably presently answer a very small
 16
      percentage of the discovery requests, it would be wasteful, unduly stressful, and inefficient to
 17
      provide piecemeal responses. Responding Party is not currently able to respond to the requests in
 18
      a comprehensive and full manner, and will do so as soon as he is reasonably able.
 19
                                         GENERAL OBJECTIONS
 20
               1.    Responding Party objects to the Request for Production to the extent that it calls
 21
      for information protected by the attorney-client privilege, the work product doctrine, or any other
 22
      privileges, protections or doctrines of similar effect. To the extent that Responding Party
 23
      inadvertently makes any admission protected by the attorney-client privilege, the work product
 24
      doctrine, or any other privilege or protection, including the marital communication privilege, such
 25
      admission is not intended to, and shall not operate as, a waiver of any applicable privilege with
 26
 27   respect to that admission and/or information.

 28           2.     Responding Party’s responses are not a waiver of any of the objections set forth


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                                 Exhibit Page 93
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  1   herein, or an admission or acknowledgement that such information is relevant to the subject
  2   matter of this action. Further, these responses are without prejudice to, and not a waiver of: (a)
  3   Responding Party’s right to contend at trial, or at any other proceeding in this action, that such
  4   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)
  5   any objection by Responding Party to any future use of such information that Plaintiff may
  6   attempt to make.
  7
              3.     The responses contained herein are provided in good faith effort and supply as
  8
      much factual information as is presently known. Responding Party shall have no duty, but shall
  9
      reserve the right, to supplement the responses contained herein as additional facts are
 10
      ascertained, analyses are made, legal research is completed, and contentions are developed.
 11
              4.     Each and every one of these General Objections applies to each of Responding
 12
      Party’s responses to the Request for Production and is incorporated into each of Responding
 13
      Party’s responses below as though set forth in full therein.
 14
              5.     Responding Party’s responses are not a waiver of any of the objections set forth
 15
      herein, or an admission or acknowledgement that such information is relevant to the subject
 16
      matter of this action. Further, these responses are without prejudice to, and not a waiver of: (a)
 17
      Responding Party’s right to contend at trial, or at any other proceeding in this action, that such
 18
 19   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)

 20   any objection by Responding Party to any future use of such information that Plaintiff may

 21   attempt to make.

 22           6.     The responses contained herein are provided in good faith effort and supply as

 23   much factual information as is presently known. Responding Party shall have no duty, but shall

 24   reserve the right, to supplement the responses contained herein as additional facts are
 25   ascertained, analyses are made, legal research is completed, and contentions are developed.
 26           7.     Responding Party objects to the Instructions and Definitions to the extent that
 27   they require Responding Party to take acts not required by the California Code of Civil
 28   Procedure or other legal authorities.


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                                 Exhibit Page 94
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  1           8.     Each and every one of these General Objections applies to each of Responding
  2   Party’s responses to the Request for Production and is incorporated into each of the responses
  3   below as though set forth in full therein.
  4   RESPONSE TO REQUEST NO. 1: Responding Party hereby incorporates into this response
  5   the COVID Objections and General Objections set forth supra.
  6   RESPONSE TO REQUEST NO. 2: Responding Party hereby incorporates into this response
  7   the COVID Objections and General Objections set forth supra.
  8   RESPONSE TO REQUEST NO. 3: Responding Party hereby incorporates into this response
  9   the COVID Objections and General Objections set forth supra.
 10   RESPONSE TO REQUEST NO. 4: Responding Party hereby incorporates into this response
 11   the COVID Objections and General Objections set forth supra.
 12   RESPONSE TO REQUEST NO. 5: Responding Party hereby incorporates into this response
 13   the COVID Objections and General Objections set forth supra.
 14   RESPONSE TO REQUEST NO. 6: Responding Party hereby incorporates into this response
 15   the COVID Objections and General Objections set forth supra.
 16   RESPONSE TO REQUEST NO. 7: Responding Party hereby incorporates into this response
 17   the COVID Objections and General Objections set forth supra.
 18   RESPONSE TO REQUEST NO. 8: Responding Party hereby incorporates into this response
 19   the COVID Objections and General Objections set forth supra.
 20   RESPONSE TO REQUEST NO. 9: Responding Party hereby incorporates into this response
 21   the COVID Objections and General Objections set forth supra.
 22   RESPONSE TO REQUEST NO. 10: Responding Party hereby incorporates into this response
 23   the COVID Objections and General Objections set forth supra.
 24   RESPONSE TO REQUEST NO. 11: Responding Party hereby incorporates into this response
 25   the COVID Objections and General Objections set forth supra.
 26   RESPONSE TO REQUEST NO. 12: Responding Party hereby incorporates into this response
 27   the COVID Objections and General Objections set forth supra.
 28


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                              Exhibit Page 95
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  1   RESPONSE TO REQUEST NO. 13: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 14: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 15: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 16: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 17: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 18: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 19: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 20: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 21: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO REQUEST NO. 22: Responding Party hereby incorporates into this response
 20   the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO REQUEST NO. 23: Responding Party hereby incorporates into this response
 22   the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO REQUEST NO. 24: Responding Party hereby incorporates into this response
 24   the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO REQUEST NO. 25: Responding Party hereby incorporates into this response
 26   the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO REQUEST NO. 26: Responding Party hereby incorporates into this response
 28   the COVID Objections and General Objections set forth supra.


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                     Exhibit Page 96
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  1   RESPONSE TO REQUEST NO. 27: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 28: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 29: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 30: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 31: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 32: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 33: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 34: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 35: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO REQUEST NO. 36: Responding Party hereby incorporates into this response
 20   the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO REQUEST NO. 37: Responding Party hereby incorporates into this response
 22   the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO REQUEST NO. 38: Responding Party hereby incorporates into this response
 24   the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO REQUEST NO. 39: Responding Party hereby incorporates into this response
 26   the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO REQUEST NO. 40: Responding Party hereby incorporates into this response
 28   the COVID Objections and General Objections set forth supra.


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
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  1   RESPONSE TO REQUEST NO. 41: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 42: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 43: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 44: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 45: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 46: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 47: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 48: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 49: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO REQUEST NO. 50: Responding Party hereby incorporates into this response
 20   the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO REQUEST NO. 51: Responding Party hereby incorporates into this response
 22   the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO REQUEST NO. 52: Responding Party hereby incorporates into this response
 24   the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO REQUEST NO. 53: Responding Party hereby incorporates into this response
 26   the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO REQUEST NO. 54: Responding Party hereby incorporates into this response
 28   the COVID Objections and General Objections set forth supra.


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
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  1   RESPONSE TO REQUEST NO. 55: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 56: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 57: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 58: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9
 10   Dated: February 4, 2021
 11                                             Law Offices of Marvin H. Weiss
                                                Signed as to objections only
 12
 13
 14                                           By: ______________________________
                                                 Marvin H. Weiss Attorney for Defendant
 15                                              Elliot Lander
 16
 17
 18
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 28


              ELLIOT LANDER’S RESPONSES TO US REAL REQUEST FOR PRODUCTION, SET ONE
                                                                         Exhibit Page 99
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      LAW OFFICES OF MARVIN H. WEISS
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  2   Palm Desert, California 92260-4145
      Telephone: (760) 340-2500
  3   Fax: (760) 462-3815
  4
      Attorneys for Defendants Elliot Lander
  5   and Coachella Resort, LLC
  6
  7
  8
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
 10
 11   US REAL ESTATE CREDIT HOLDINGS        |          Case No: RIC1905743
                                            |
      III-A, LP, an Irish limited partnership,
 12                                         |            DEFENDANT ELLIOT LANDER’S
              Plaintiff,                    |            RESPONSES TO REQUESTS FOR
 13                                         |
                                            |            ADMISSION SET ONE,
              v.                                         PROPOUNDED BY PLAINTIFF
 14                                         |
      GLENROY COACHELLA, LLC, a Delaware |
 15   limited liability company, et al.     |          Judge: Hon. Sunshine S. Sykes
                                            |
 16                                         |
              Defendants.                   |
 17   _____________________________________ |
 18
 19
            PARTY PROPOUNDING:            Plaintiff U.S. REAL ESTATE CREDIT HOLDINGS III-A,
 20
      LP (“Propounding Party”)
 21
            PARTY RESPONDING: Defendant DR. ELLIOT LANDER (“Responding Party”)
 22
              SET NUMBER:                        One
 23
              Pursuant to California Code of Civil Procedure § 2033.210, Responding Party hereby
 24
      responds to Demand for Requests For Admission, Set Number One propounded by Propounding
 25
      Party, as follows:
 26
      ///
 27
      ///
 28


               ELLIOT LANDER’S RESPONSES TO US REAL REQUESTS FOR ADMISSION, SET ONE
                                                                           Exhibit Page 100
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  1                                   PRELIMINARY STATEMENT
  2          Defendants Elliot B. Lander and Coachella Resort LLC obtained several extensions to
  3   respond to the complex detailed gauntlet of Discovery Requests made of them during 2020,
  4   mostly to be determined after a full and complete Status Conference. Thereafter the Court on
  5   virtually all occasions kept continuing the Status Conferences due to COVID-19 and its effects
  6   on the Court’s calendar.
  7          In November 2020 Plaintiff’s prior counsel was compelled to withdraw due to conflicts
  8   of interest. One of Plaintiff’s new attorneys, Chris O. Rivas and undersigned counsel for Elliot
  9   Lander had a discussion and on January 8, 2021 it was agreed that an additional period of time
 10   would be extended to February 5, 2021. It was indicated that such would be the last voluntary
 11   continuance. Elliot Lander individually and on behalf of his entity Coachella Resort, LLC were
 12   fully prepared to respond in good faith to the multiple Discovery vehicles which were pending.
 13          Dr. Lander was struck with COVID-19, on or about January 1, 2021. His case was
 14   severe, and he was very ill for approximately 25 days. During much of that time Dr. Lander was
 15   feverish, coughed uncontrollably, had difficulty breathing, was severely deprived of sleep, losing
 16   approximately 10% of his body weight. While he is no longer contagious, post recovery he
 17   remains weak, unable to concentrate for period of time and has yet to return to his pre-existing
 18   medical practice.
 19          The above was shared with Mr. Rivas, who was unable to voluntarily give any further
 20   extensions.
 21          This Responding Party has not fully completed his investigation of the facts relating to
 22   this case, nor has Responding Party fully completed discovery in this action, nor completed
 23   preparation for trial. All of the answers contained herein are based upon information and
 24   presently available to and specifically known to this Responding Party. This may include hearsay
 25   and other forms of evidence, and it may be that further discovery, independent investigation and
 26   analysis will supply additional facts. The following responses to the Requests for Admission are
 27   given without prejudice of any subsequently discovered fact or facts. This Responding Party
 28   accordingly reserves the right to change any or all of its responses herein as additional facts and


               ELLIOT LANDER’S RESPONSES TO US REAL REQUESTS FOR ADMISSION, SET ONE
                                                                               Exhibit Page 101
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  1   information are discovered or are ascertained. The responses contained herein are made in a
  2   good faith effort to supply as much factual information as is presently known but should in no
  3   way be to the prejudice of this Responding Party in relation to further discovery.
  4          Responding Party reserves the right to make use of, or introduce at any hearing or at trial,
  5   facts not known to exist at the time this response, including, but not limited to, do facts and
  6   information not obtained in the course of discovery in this action.
  7                                        COVID OBJECTIONS
  8           1.     On the basis of his incontestable severe COVID-19 infection and present post
  9   COVID-19 syndrome, Responding Party objects to these discovery requests at this time as he is
 10   unable to put in the extended time and concentration necessary to properly respond to the
 11   discovery requests being sought, nor the present ability to find proper responses not in his
 12   immediate knowledge. Lastly, for all the above stated reasons he is unable to sign any
 13   Verification responding to the queries posed. Dr. Lander on such basis objects to all the
 14
      Discovery Requests.
 15
              2.     Although Responding Party could conceivably presently answer a very small
 16
      percentage of the discovery requests, it would be wasteful, unduly stressful, and inefficient to
 17
      provide piecemeal responses. Responding Party is not currently able to respond to the requests in
 18
      a comprehensive and full manner, and will do so as soon as he is reasonably able.
 19
                                         GENERAL OBJECTIONS
 20
              1.     Defendant objects to the RFA to the extent that it calls for information protected by
 21
      the attorney-client privilege, the work product doctrine, or any other privileges, protections or
 22
      doctrines of similar effect. To the extent that Defendant inadvertently makes any admission
 23
      protected by the attorney-client privilege, the work product doctrine, or any other privilege or
 24
      protection, including the marital communication privilege, such admission is not intended to, and
 25
      shall not operate as, a waiver of any applicable privilege with respect to that admission and/or
 26
 27   information.

 28           2.     Defendant’s responses are not a waiver of any of the objections set forth herein,


               ELLIOT LANDER’S RESPONSES TO US REAL REQUESTS FOR ADMISSION, SET ONE
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  1   or an admission or acknowledgement that such information is relevant to the subject matter of
  2   this action. Further, these responses are without prejudice to, and not a waiver of: (a)
  3   Defendant’s right to contend at trial, or at any other proceeding in this action, that such
  4   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)
  5   any objection by Defendant to any future use of such information that Plaintiff may attempt to
  6   make.
  7
              3.     The responses contained herein are provided in good faith effort and supply as
  8
      much factual information as is presently known. Defendant shall have no duty, but shall reserve
  9
      the right, to supplement the responses contained herein as additional facts are ascertained,
 10
      analyses are made, legal research is completed, and contentions are developed.
 11
              4.     Each and every one of these General Objections applies to each of Responding
 12
      Party’s responses to the RFA and is incorporated into each of Responding Party’s responses
 13
      below as though set forth in full therein.
 14
              5.     Responding Party’s responses are not a waiver of any of the objections set forth
 15
      herein, or an admission or acknowledgement that such information is relevant to the subject
 16
      matter of this action. Further, these responses are without prejudice to, and not a waiver of: (a)
 17
      Responding Party’s right to contend at trial, or at any other proceeding in this action, that such
 18
 19   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)

 20   any objection by Responding Party to any future use of such information that Plaintiff may

 21   attempt to make.

 22           6.     The responses contained herein are provided in good faith effort and supply as

 23   much factual information as is presently known. Responding Party shall have no duty, but shall

 24   reserve the right, to supplement the responses contained herein as additional facts are
 25   ascertained, analyses are made, legal research is completed, and contentions are developed.
 26           7.     Responding Party objects to the Instructions and Definitions to the extent that
 27   they require Responding Party to take acts not required by the California Code of Civil
 28   Procedure or other legal authorities.


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  1            8.     Each and every one of these General Objections applies to each of Responding
  2   Party’s responses to the RFA and is incorporated into each of the responses below as though set
  3   forth in full therein.
  4   RESPONSE TO REQUEST NO. 1: Responding Party hereby incorporates into this response
  5   the COVID Objections and General Objections set forth supra.
  6   RESPONSE TO REQUEST NO. 2: Responding Party hereby incorporates into this response
  7   the COVID Objections and General Objections set forth supra.
  8   RESPONSE TO REQUEST NO. 3: Responding Party hereby incorporates into this response
  9   the COVID Objections and General Objections set forth supra.
 10   RESPONSE TO REQUEST NO. 4: Responding Party hereby incorporates into this response
 11   the COVID Objections and General Objections set forth supra.
 12   RESPONSE TO REQUEST NO. 5: Responding Party hereby incorporates into this response
 13   the COVID Objections and General Objections set forth supra.
 14   RESPONSE TO REQUEST NO. 6: Responding Party hereby incorporates into this response
 15   the COVID Objections and General Objections set forth supra.
 16   RESPONSE TO REQUEST NO. 7: Responding Party hereby incorporates into this response
 17   the COVID Objections and General Objections set forth supra.
 18   RESPONSE TO REQUEST NO. 8: Responding Party hereby incorporates into this response
 19   the COVID Objections and General Objections set forth supra.
 20   RESPONSE TO REQUEST NO. 9: Responding Party hereby incorporates into this response
 21   the COVID Objections and General Objections set forth supra.
 22   RESPONSE TO REQUEST NO. 10: Responding Party hereby incorporates into this response
 23   the COVID Objections and General Objections set forth supra.
 24   RESPONSE TO REQUEST NO. 11: Responding Party hereby incorporates into this response
 25   the COVID Objections and General Objections set forth supra.
 26   RESPONSE TO REQUEST NO. 12: Responding Party hereby incorporates into this response
 27   the COVID Objections and General Objections set forth supra.
 28


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  1   RESPONSE TO REQUEST NO. 13: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 14: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 15: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 16: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 17: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 18: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 19: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 20: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 21: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO REQUEST NO. 22: Responding Party hereby incorporates into this response
 20   the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO REQUEST NO. 23: Responding Party hereby incorporates into this response
 22   the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO REQUEST NO. 24: Responding Party hereby incorporates into this response
 24   the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO REQUEST NO. 25: Responding Party hereby incorporates into this response
 26   the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO REQUEST NO. 26: Responding Party hereby incorporates into this response
 28   the COVID Objections and General Objections set forth supra.


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  1   RESPONSE TO REQUEST NO. 27: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 28: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 29: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 30: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 31: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 32: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 33: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 34: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 35: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO REQUEST NO. 36: Responding Party hereby incorporates into this response
 20   the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO REQUEST NO. 37: Responding Party hereby incorporates into this response
 22   the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO REQUEST NO. 38: Responding Party hereby incorporates into this response
 24   the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO REQUEST NO. 39: Responding Party hereby incorporates into this response
 26   the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO REQUEST NO. 40: Responding Party hereby incorporates into this response
 28   the COVID Objections and General Objections set forth supra.


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  1   RESPONSE TO REQUEST NO. 41: Responding Party hereby incorporates into this response
  2   the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO REQUEST NO. 42: Responding Party hereby incorporates into this response
  4   the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO REQUEST NO. 43: Responding Party hereby incorporates into this response
  6   the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO REQUEST NO. 44: Responding Party hereby incorporates into this response
  8   the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO REQUEST NO. 45: Responding Party hereby incorporates into this response
 10   the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO REQUEST NO. 46: Responding Party hereby incorporates into this response
 12   the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO REQUEST NO. 47: Responding Party hereby incorporates into this response
 14   the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO REQUEST NO. 48: Responding Party hereby incorporates into this response
 16   the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO REQUEST NO. 49: Responding Party hereby incorporates into this response
 18   the COVID Objections and General Objections set forth supra.
 19
 20   Dated: February 4, 2021
 21                                             Law Offices of Marvin H. Weiss
                                                Signed as to objections only
 22
 23
 24                                           By: ______________________________
                                                 Marvin H. Weiss Attorney for Defendant
 25                                              Elliot Lander
 26
 27
 28


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      LAW OFFICES OF MARVIN H. WEISS
  1   Marvin H. Weiss (SBN 35735)
      74-075 El Paseo, A-5
  2   Palm Desert, California 92260-4145
      Telephone: (760) 340-2500
  3   Fax: (760) 462-3815
  4
      Attorneys for Defendants Elliot Lander
  5   and Coachella Resort, LLC
  6
  7
  8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                  COUNTY OF RIVERSIDE – RIVERSIDE HISTORIC COURTHOUSE
 10
 11   US REAL ESTATE CREDIT HOLDINGS        |          Case No: RIC1905743
                                            |
      III-A, LP, an Irish limited partnership,
 12                                         |            DEFENDANT ELLIOT LANDER’S
              Plaintiff,                    |            RESPONSES TO SPECIAL
 13                                         |
                                            |            INTERROGATORIES, SET ONE,
              v.                                         PROPOUNDED BY PLAINTIFF
 14                                         |
      GLENROY COACHELLA, LLC, a Delaware |
 15   limited liability company, et al.     |          Judge: Hon. Sunshine S. Sykes
                                            |
 16                                         |
              Defendants.                   |
 17   _____________________________________ |
 18
 19
            PARTY PROPOUNDING:            Plaintiff U.S. REAL ESTATE CREDIT HOLDINGS III-A,
 20
      LP (“Propounding Party”)
 21
            PARTY RESPONDING: Defendant DR. ELLIOT LANDER (“Responding Party”)
 22
              SET NUMBER:                        One
 23
              Pursuant to California Code of Civil Procedure § 2030.210, Responding Party hereby
 24
      responds to Special Interrogatories, Set Number One propounded by Propounding Party as
 25
      follows:
 26
      ///
 27
      ///
 28


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  1                                   PRELIMINARY STATEMENT
  2          Defendants Elliot B. Lander and Coachella Resort LLC obtained several extensions to
  3   respond to the complex detailed gauntlet of Discovery Requests made of them during 2020,
  4   mostly to be determined after a full and complete Status Conference. Thereafter the Court on
  5   virtually all occasions kept continuing the Status Conferences due to COVID-19 and its effects
  6   on the Court’s calendar.
  7          In November 2020 Plaintiff’s prior counsel was compelled to withdraw due to conflicts
  8   of interest. One of Plaintiff’s new attorneys, Chris O. Rivas and undersigned counsel for Elliot
  9   Lander had a discussion and on January 8, 2021 it was agreed that an additional period of time
 10   would be extended to February 5, 2021. It was indicated that such would be the last voluntary
 11   continuance. Elliot Lander individually and on behalf of his entity Coachella Resort, LLC were
 12   fully prepared to respond in good faith to the multiple Discovery vehicles which were pending.
 13          Dr. Lander was struck with COVID-19, on or about January 1, 2021. His case was
 14   severe, and he was very ill for approximately 25 days. During much of that time Dr. Lander was
 15   feverish, coughed uncontrollably, had difficulty breathing, was severely deprived of sleep, losing
 16   approximately 10% of his body weight. While he is no longer contagious, post recovery he
 17   remains weak, unable to concentrate for period of time and has yet to return to his pre-existing
 18   medical practice.
 19          The above was shared with Mr. Rivas, who was unable to voluntarily give any further
 20   extensions.
 21          This Responding Party has not fully completed his investigation of the facts relating to
 22   this case, nor has Responding Party fully completed discovery in this action, nor completed
 23   preparation for trial. All of the answers contained herein are based upon information and
 24   presently available to and specifically known to this Responding Party. This may include hearsay
 25   and other forms of evidence, and it may be that further discovery, independent investigation and
 26   analysis will supply additional facts. The following responses to the Special Interrogatories are
 27   given without prejudice of any subsequently discovered fact or facts. This Responding Party
 28   accordingly reserves the right to change any or all of its responses herein as additional facts and


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  1   information are discovered or are ascertained. The responses contained herein are made in a
  2   good faith effort to supply as much factual information as is presently known but should in no
  3   way be to the prejudice of this Responding Party in relation to further discovery.
  4          Responding Party reserves the right to make use of, or introduce at any hearing or at trial,
  5   facts not known to exist at the time this response, including, but not limited to, do facts and
  6   information not obtained in the course of discovery in this action.
  7                                        COVID OBJECTIONS
  8           1.     On the basis of his incontestable severe COVID-19 infection and present post
  9   COVID-19 syndrome, Responding Party objects to these discovery requests at this time as he is
 10   unable to put in the extended time and concentration necessary to properly respond to the
 11   discovery requests being sought, nor the present ability to find proper responses not in his
 12   immediate knowledge. Lastly, for all the above stated reasons he is unable to sign any
 13   Verification responding to the queries posed. Dr. Lander on such basis objects to all the
 14
      Discovery Requests.
 15
              2.     Although Responding Party could conceivably presently answer a very small
 16
      percentage of the discovery requests, it would be wasteful, unduly stressful, and inefficient to
 17
      provide piecemeal responses. Responding Party is not currently able to respond to the requests in
 18
      a comprehensive and full manner, and will do so as soon as he is reasonably able.
 19
                                         GENERAL OBJECTIONS
 20
              1.     Responding Party objects to the Interrogatory to the extent that it calls for
 21
      information protected by the attorney-client privilege, the work product doctrine, or any other
 22
      privileges, protections or doctrines of similar effect. To the extent that Defendant inadvertently
 23
      makes any admission protected by the attorney-client privilege, the work product doctrine, or any
 24
      other privilege or protection, including the marital communication privilege, such admission is not
 25
      intended to, and shall not operate as, a waiver of any applicable privilege with respect to that
 26
 27   admission and/or information.

 28           2.     Responding Party’s responses are not a waiver of any of the objections set forth


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  1   herein, or an admission or acknowledgement that such information is relevant to the subject
  2   matter of this action. Further, these responses are without prejudice to, and not a waiver of: (a)
  3   Responding Party’s right to contend at trial, or at any other proceeding in this action, that such
  4   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)
  5   any objection by Responding Party to any future use of such information that Plaintiff may
  6   attempt to make.
  7
              3.     The responses contained herein are provided in good faith effort and supply as
  8
      much factual information as is presently known. Responding Party shall have no duty, but shall
  9
      reserve the right, to supplement the responses contained herein as additional facts are
 10
      ascertained, analyses are made, legal research is completed, and contentions are developed.
 11
              4.     Each and every one of these General Objections applies to each of Responding
 12
      Party’s responses to the Special Interrogatory and is incorporated into each of Responding
 13
      Party’s responses below as though set forth in full therein.
 14
              5.     Responding Party’s responses are not a waiver of any of the objections set forth
 15
      herein, or an admission or acknowledgement that such information is relevant to the subject
 16
      matter of this action. Further, these responses are without prejudice to, and not a waiver of: (a)
 17
      Responding Party’s right to contend at trial, or at any other proceeding in this action, that such
 18
 19   information is inadmissible, irrelevant, immaterial, or not a proper basis for discovery; and (b)

 20   any objection by Responding Party to any future use of such information that Plaintiff may

 21   attempt to make.

 22           6.     The responses contained herein are provided in good faith effort and supply as

 23   much factual information as is presently known. Responding Party shall have no duty, but shall

 24   reserve the right, to supplement the responses contained herein as additional facts are
 25   ascertained, analyses are made, legal research is completed, and contentions are developed.
 26           7.     Responding Party objects to the Instructions and Definitions to the extent that
 27   they require Responding Party to take acts not required by the California Code of Civil
 28   Procedure or other legal authorities.


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  1           8.     Each and every one of these General Objections applies to each of Responding
  2   Party’s responses to the Special Interrogatory and is incorporated into each of the responses
  3   below as though set forth in full therein.
  4   RESPONSE TO INTERROGATORY NO 1:                       Responding Party hereby incorporates into
  5   this response the COVID Objections and General Objections set forth supra.
  6   RESPONSE TO INTERROGATORY NO 2:                       Responding Party hereby incorporates into
  7   this response the COVID Objections and General Objections set forth supra.
  8   RESPONSE TO INTERROGATORY NO 3:                       Responding Party hereby incorporates into
  9   this response the COVID Objections and General Objections set forth supra.
 10   RESPONSE TO INTERROGATORY NO 4:                       Responding Party hereby incorporates into
 11   this response the COVID Objections and General Objections set forth supra.
 12   RESPONSE TO INTERROGATORY NO 5:                       Responding Party hereby incorporates into
 13   this response the COVID Objections and General Objections set forth supra.
 14   RESPONSE TO INTERROGATORY NO 6:                       Responding Party hereby incorporates into
 15   this response the COVID Objections and General Objections set forth supra.
 16   RESPONSE TO INTERROGATORY NO 7:                       Responding Party hereby incorporates into
 17   this response the COVID Objections and General Objections set forth supra.
 18   RESPONSE TO INTERROGATORY NO 8:                       Responding Party hereby incorporates into
 19   this response the COVID Objections and General Objections set forth supra.
 20   RESPONSE TO INTERROGATORY NO 9:                       Responding Party hereby incorporates into
 21   this response the COVID Objections and General Objections set forth supra.
 22   RESPONSE TO INTERROGATORY NO 10:                      Responding Party hereby incorporates into
 23   this response the COVID Objections and General Objections set forth supra.
 24   RESPONSE TO INTERROGATORY NO 11:                      Responding Party hereby incorporates into
 25   this response the COVID Objections and General Objections set forth supra.
 26   RESPONSE TO INTERROGATORY NO 12:                      Responding Party hereby incorporates into
 27   this response the COVID Objections and General Objections set forth supra.
 28


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  1   RESPONSE TO INTERROGATORY NO 13:                  Responding Party hereby incorporates into
  2   this response the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO INTERROGATORY NO 14:                  Responding Party hereby incorporates into
  4   this response the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO INTERROGATORY NO 15:                  Responding Party hereby incorporates into
  6   this response the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO INTERROGATORY NO 16:                  Responding Party hereby incorporates into
  8   this response the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO INTERROGATORY NO 17:                  Responding Party hereby incorporates into
 10   this response the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO INTERROGATORY NO 18:                  Responding Party hereby incorporates into
 12   this response the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO INTERROGATORY NO 19:                  Responding Party hereby incorporates into
 14   this response the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO INTERROGATORY NO 20:                  Responding Party hereby incorporates into
 16   this response the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO INTERROGATORY NO 21:                  Responding Party hereby incorporates into
 18   this response the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO INTERROGATORY NO 22:                  Responding Party hereby incorporates into
 20   this response the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO INTERROGATORY NO 23:                  Responding Party hereby incorporates into
 22   this response the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO INTERROGATORY NO 24:                  Responding Party hereby incorporates into
 24   this response the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO INTERROGATORY NO 25:                  Responding Party hereby incorporates into
 26   this response the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO INTERROGATORY NO 26:                  Responding Party hereby incorporates into
 28   this response the COVID Objections and General Objections set forth supra.


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  1   RESPONSE TO INTERROGATORY NO 27:                  Responding Party hereby incorporates into
  2   this response the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO INTERROGATORY NO 28:                  Responding Party hereby incorporates into
  4   this response the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO INTERROGATORY NO 29:                  Responding Party hereby incorporates into
  6   this response the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO INTERROGATORY NO 30:                  Responding Party hereby incorporates into
  8   this response the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO INTERROGATORY NO 31:                  Responding Party hereby incorporates into
 10   this response the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO INTERROGATORY NO 32:                  Responding Party hereby incorporates into
 12   this response the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO INTERROGATORY NO 33:                  Responding Party hereby incorporates into
 14   this response the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO INTERROGATORY NO 34:                  Responding Party hereby incorporates into
 16   this response the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO INTERROGATORY NO 35:                  Responding Party hereby incorporates into
 18   this response the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO INTERROGATORY NO 36:                  Responding Party hereby incorporates into
 20   this response the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO INTERROGATORY NO 37:                  Responding Party hereby incorporates into
 22   this response the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO INTERROGATORY NO 38:                  Responding Party hereby incorporates into
 24   this response the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO INTERROGATORY NO 39:                  Responding Party hereby incorporates into
 26   this response the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO INTERROGATORY NO 40:                  Responding Party hereby incorporates into
 28   this response the COVID Objections and General Objections set forth supra.


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  1   RESPONSE TO INTERROGATORY NO 41:                  Responding Party hereby incorporates into
  2   this response the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO INTERROGATORY NO 42:                  Responding Party hereby incorporates into
  4   this response the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO INTERROGATORY NO 43:                  Responding Party hereby incorporates into
  6   this response the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO INTERROGATORY NO 44:                  Responding Party hereby incorporates into
  8   this response the COVID Objections and General Objections set forth supra.
  9   RESPONSE TO INTERROGATORY NO 45:                  Responding Party hereby incorporates into
 10   this response the COVID Objections and General Objections set forth supra.
 11   RESPONSE TO INTERROGATORY NO 46:                  Responding Party hereby incorporates into
 12   this response the COVID Objections and General Objections set forth supra.
 13   RESPONSE TO INTERROGATORY NO 47:                  Responding Party hereby incorporates into
 14   this response the COVID Objections and General Objections set forth supra.
 15   RESPONSE TO INTERROGATORY NO 48:                  Responding Party hereby incorporates into
 16   this response the COVID Objections and General Objections set forth supra.
 17   RESPONSE TO INTERROGATORY NO 49:                  Responding Party hereby incorporates into
 18   this response the COVID Objections and General Objections set forth supra.
 19   RESPONSE TO INTERROGATORY NO 50:                  Responding Party hereby incorporates into
 20   this response the COVID Objections and General Objections set forth supra.
 21   RESPONSE TO INTERROGATORY NO 51:                  Responding Party hereby incorporates into
 22   this response the COVID Objections and General Objections set forth supra.
 23   RESPONSE TO INTERROGATORY NO 52:                  Responding Party hereby incorporates into
 24   this response the COVID Objections and General Objections set forth supra.
 25   RESPONSE TO INTERROGATORY NO 53:                  Responding Party hereby incorporates into
 26   this response the COVID Objections and General Objections set forth supra.
 27   RESPONSE TO INTERROGATORY NO 54:                  Responding Party hereby incorporates into
 28   this response the COVID Objections and General Objections set forth supra.


             ELLIOT LANDER’S RESPONSES TO US REAL SPECIAL INTERROGATORIES, SET ONE
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  1   RESPONSE TO INTERROGATORY NO 55:                  Responding Party hereby incorporates into
  2   this response the COVID Objections and General Objections set forth supra.
  3   RESPONSE TO INTERROGATORY NO 56:                  Responding Party hereby incorporates into
  4   this response the COVID Objections and General Objections set forth supra.
  5   RESPONSE TO INTERROGATORY NO 57:                  Responding Party hereby incorporates into
  6   this response the COVID Objections and General Objections set forth supra.
  7   RESPONSE TO INTERROGATORY NO 58:                  Responding Party hereby incorporates into
  8   this response the COVID Objections and General Objections set forth supra.
  9
 10   Dated: February 4, 2021
 11                                              Law Offices of Marvin H. Weiss
                                                 Signed as to objections only
 12
 13
 14                                           By: ______________________________
                                                 Marvin H. Weiss Attorney for Defendant
 15                                              Elliot Lander
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             ELLIOT LANDER’S RESPONSES TO US REAL SPECIAL INTERROGATORIES, SET ONE
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                               Exhibit C
                                                               Exhibit Page 117
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 1   PATRICK C. McGARRIGLE, ESQ., SBN 149008
     MICHAEL J. KENNEY, ESQ., SBN 192775
 2   McGARRIGLE, KENNEY & ZAMPIELLO, APC
 3
     9600 Topanga Canyon Boulevard, Suite 200
     Chatsworth, California 91311
 4   TEL: (818) 998-3300 FAX: (818) 998-3344
 5
     Attorneys for Defendants
 6   Glenroy Coachella, LLC, Force Rubin, LLC,
     and Force Rubin 2, LLC,
 7
 8
 9
                              SUPERIOR COURT OF STATE OF CALIFORNIA
10
                                        FOR THE COUNTY OF RIVERSIDE
11
12   U.S. REAL ESTATE CREDIT                     ) CASE NO.: RIC1905743
     HOLDINGS III-A, LP, an Irish limited        )
13                                               ) [Assigned to Hon. Sunshine S. Sykes,
     partnership,                                ) Department 6]
14                                               )
                 Plaintiff,                      ) DECLARATION OF DANA BARBERA
15                                               )
16                                               ) IN SUPPORT OF DEFENDANT
          v.                                     ) GLENROY COACHELLA, LLC’S EX
17                                               ) PARTE APPLICATION FOR AN
     GLENROY COACHELLA, LLC, a                   ) ORDER AUTHORIZING PROTECTIVE
18   Delaware limited liability company; et al., ) ADVANCE AND RECEIVER
                                                 ) CERTIFICATE, ETC.
19                                               )
                 Defendants.                     ) [Ex parte application and Declarations of A.
20                                               ) Stuart Rubin, Elliot Lander, Renzo Renzi,
                                                 ) Joseph Rubin, Laurence Berman, Marvin
21                                               ) Weiss and Patrick C. McGarrigle and
     AND RELATED CROSS ACTIONS.                  ) Exhibits Thereto Filed Concurrently
22                                               )
                                                 ) Herewith]
23                                               )
                                                 ) Date:     December 14, 2020
24                                               ) Time:     8:30 a.m.
25
                                                 ) Dept.: “6”
                                                 ) Confirmation Number: RES241685
26                                               )
                                                 ) Complaint Filed: November 19, 2019
27                                               )
                                                 )
28

                                       1
               DECLARATION OF DANA BARBERA ISO GLENROY EX PARTE
                                                         Exhibit Page 118
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 1                                   DECLARATION OF DANA BARBERA
 2            I, Dana Barbera, declare:
 3            1.        I am over the age of eighteen and am a resident of the County of Los
 4   Angeles, I have personal knowledge of the facts set forth herein and, if called upon, could
 5   and would competently testify thereto under oath.
 6            2.        I make the following declaration in connection with the ex parte application
 7   of Defendants Glenroy Coachella, LLC’s (“Glenroy” or “Defendants”) ex parte
 8   application for an Order authorizing and directing the Receiver to enter into loan and
 9   related documentation for a Protective Advance and issue a first position Receiver
10   Certificate, among other relief (the “Application”).
11            3.        I am employed by Colliers International, utilizing its Colliers’ Project
12   Leaders (CPL) divisions (“Colliers”) as a Senior Director, Project Management. I have
13   extensive national and global experience in project development from ground-up to
14   project construction recommencement and restoration services, including hotels.
15   Attached hereto as Exhibit 8 is a true and correct copy of my CV and Supplemental CV
16   detailing my history overall and with Colliers. In addition, CPL provides specific project
17   management and development services and is particularly well qualified to serve as the
18   project manager for the recommencement of the construction of the Project (as detailed in
19   below and in Exhibits 9 and 10 below) and also through completion.
20            4.        Colliers was hired in February 2020 as an Owner Representative and
21   Construction Project Manager by Glenroy to re-engage the project’s designers and
22   engineers, and to bid, or otherwise solicit competitive proposals, for negotiating new
23   contracts to restart the hotel project. Over the course of the next six months, Colliers
24   evaluated the site conditions, reviewed all existing drawings, permits, inspection reports,
25   contract documents and project correspondence. We established bespoke contracting
26   methods to complete a project stopped midway through and competitively bid the
27   completion of the work. I and another CPL member each visited the Project site for
28   purposes of the Project condition and evaluation and to assist with the above work and

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 1   generation of the work product described below, at least a dozen (12) times, if not more,
 2   and first-hand visual knowledge of the conditions observed and documented and leading
 3   to the project assessments, basis for negotiating the types and scope of various contracts
 4   and planning the budget for the recommencement and completion of the Hotel Project.
 5            5.        As a result of these efforts, we established agreement terms for proceeding
 6   with all the original consultants. We negotiated and prepared for execution new owner-
 7   biased agreements for a new general contractor and established terms and conditions for a
 8   mix of new and old subcontractors. All new and returning contractors and subcontractors
 9   were selected based on price and qualifications.
10            6.        A new budget and schedule were created to complete the project. These
11   were compiled with proposals and contracts into a single narrative document, called
12   Hotel Indigo Coachella Submission for Budget Approval (the “Project Budget
13   Submission”). This was provided to the client on September 14, 2020; a true and correct
14   copy of the Project Budget Submission is attached hereto as Exhibit 11 and is
15   incorporated herein by this reference.
16            7.        Glenroy recently requested that Colliers prepare a project budget and
17   schedule associated with the recommencement of construction at the Project to arrest and
18   reverse the physical deterioration of the condition of the Project’s casitas and related
19   infrastructure (which had already been significantly constructed but left exposed by the
20   Receiver during the receivership to date) and complete the casitas among other related
21   but immediately necessary work.
22            8.        Based on my and the CPL team’s evaluations and assessments personally, I
23   expressed concerns that the incomplete wood framed residential structures have been left
24   in a stage of partial completion without climate control, exposed to the desert weather for
25   a two year period and advised Mr. Rubin that these buildings should be completed before
26   the coming summer to avoid further deterioration and the risk of incurring significant
27   demolition and replacement costs. Based on my and the CPL teams extensive
28   background in assessing and evaluating the condition of development projects, the cost to

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 1   correct and complete to rectify conditions including deteriorated conditions of structures
 2   and materials used therein, our detailed, first-hand knowledge of the Project’s history, the
 3   extent of the work completed and the impacts of leaving exposed and unfinished
 4   construction in the elements (particularly the desert elements), in my opinion, the
 5   recommencement of construction to, at a minimum, proceed with the casitas construction
 6   and completion (along with specifically related infrastructure) is required to preserve and
 7   protect the Project as an asset and will, when complete, add substantial value due to the
 8   inherent value of having the casitas completed.
 9            9.        To that end, I prepared the attached “Protective Advancement: Project
10   Approach” (dated December 9, 2020) which details the needs for the targeted scope of
11   work, the competitively bid sums therefor and planned use of funds, Colliers’ role as
12   project manager given our intimate knowledge and set up of the contractual and
13   operational infrastructure for recommencement and proceeding with construction and the
14   schedule therefor. A true and correct copy of the Protective Advancement: Project
15   Approach” (the “PAPA”) is attached hereto as Exhibit 12 and is incorporated fully herein
16   by this reference. The PAPA provides substantial detail on all the above issues. Because
17   the scope of work described in the PAPA is a subset of the full project scope, references
18   will be made to that main document (the Project Submission) throughout the following
19   and much of the information presented in the PAPA is excerpted from that document as
20   well.
21            10.       In connection with the above project management services for this Project,
22   I (and the CPL team) would be – as described in the PAPA – coordinating with the lender
23   (EFO) and employing commercially standard methods associated with the letting of
24   contracts, managing and monitoring contractor/subcontractor performance and timing,
25   requests for payment and related schedules of values and lien releases and presenting
26   same for approval to EFO and then, upon approval, EFO’s payment in accordance with
27   best project management practices (of which I and the CPL team are very familiar, based
28   on our decades of development experience). As part of our work, I can certainly provide

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 1   updates to the interested parties regarding project status on a reasonable periodic basis
 2   (60-90 day increments).
 3            I declare under penalty of perjury pursuant to the laws of the State of California
 4   that the foregoing is true and correct.
 5            Executed this 10th day of December 2020, at Los Angeles, California.
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 7                                                         ____________________________
                                                           Dana Barbera
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               DECLARATION OF DANA BARBERA ISO GLENROY EX PARTE
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  Dana Barbera
  Senior Director Project Management
  Southern California

  Overview
   Mr. Barbera has managed and developed commercial projects in Southern California for nearly
   30 years. He has led the development of many large‐scale projects including corporate office
   headquarters, high‐rise office buildings and historic renovations. Dana’s experience with
   hospitality clients includes Wyndham and Howard Johnsons. His most recent hotel work was
   performed for Starwood and the Ace Hotel in Los Angeles. Dana leads CPL’s project
   management and development management services, allocates resources and executes work
   himself.
   His background in architecture and engineering management enable him to expertly coordinate
   all aspects of a project, ensuring documents meet Colliers’ standards and that clients’ objectives
   are clearly carried out from documentation to the field. He leverages his years of experience to
   protect his clients’ interests and to lead their projects with an emphasis on risk management,
   cost control, and timely project delivery. Prior to joining Colliers, Dana co‐founded DPMC Global,
   managing over $150 million in construction.

  EXPERIENCE ‐ PROJECT MANAGEMENT

  Colliers Project Leaders ‐ Senior Director, Southern California ‐ December 2017 to Present

      Representative Clients and Projects
          Indigo Hotel ‐ 250 keys, 10,000 SF swimming pool, Coachella Valley, CA.
          Sunniva/Barker Pacific ‐ 375, 000 SF Cannabis Greenhouse in Cathedral City, CA.
          Saban ‐ Landlord build‐out of 128,000 SF plus cap ex in Riverside, CA.
          Equilibrium ‐ $40 million RNG Plant, remedial work and commissioning in Phoenix, AZ.
          Los Angeles World Airports ‐ Landlord build‐out of 17,000 SF plus cap ex at LAX in CA.
          Swiss Re ‐ Corporate Tenant TI, 8,500 SF at 777 South Figueroa in Downtown LA, CA.
          Private Developer ‐ Entitlements for a 47‐unit mixed‐use building in South Park LA, CA.

      Responsibilities
          Strategic planning for market expansion.
          Business development; marketing.
          Recruiting, training and retaining personnel.
          Maintaining client, real estate broker and industry relationships.
          Establishing and meeting annual revenue and P&L projections.
          Overseeing high profile and complex projects.
          Supporting real estate broker pursuits.

  DPMC Global ‐ Managing Partner ‐ March 2012 to November 2017
  Established DPMC Global to provide consulting and project management services with an emphasis
  on owner representation for tenants and developers. In five years of existence, DPMC Global
  managed over 120 million dollars of construction projects.

      Representative Clients and Projects
          Starwood – Due diligence for buyer of the 1 Hotel on Sunset Blvd. in Los Angeles, CA.
          Greenfield Partners – United Artists Theater HVAC replacement, Ace Hotel in DTLA, CA.
          CST – Corporate HQ, 115,000 SF TI, incl. office and factory in Thousand Oaks, CA.


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  Dana Barbera




             Hilton & Hyland Real Estate – TI & Relocation, 14,000 SF in Beverly Hills, CA.
             Scientology – 110,000 SF, 13‐story seismic upgrade; re‐skin of King Wang Hotel in Taiwan.
             Los Feliz Mission – Ground‐up, 3‐stories on Hillhurst Ave. in Los Angeles, CA


  CBRE ‐ Senior Director of Project Management ‐ January 2008 to March 2012
  Joined CBRE to provide leadership and direction and to expand CBRE project management services in
  the Los Angeles market. Reported directly to Western US Regional Director. Coordinated with local
  market leaders across the United States on standards, marketing, training and financial performance.
  Established and maintained internal relationships with CBRE real estate brokers.

      Representative Clients and Projects
          Waller Lansden – TI restack 130,000 SF in Nashville, TN.
          LA Care ‐ 60,000 SF Gas Company Tower move to 1055 W. 7th St., Los Angeles, CA.
          Nigro Karlin – TI 40,000 SF 10100 Santa Monica to 10960 Wilshire Blvd., Los Angeles, CA.
          Katten Muchin – TI restack 40,000 SF at 2029 Century Park East, Los Angeles, CA.

      Representative International Programs
          Directed $500 million international building program. Managed Gensler, Glumac, local
             PM’s and contractors for projects on five continents in over 30 urban locations.
          Directed international dilapidation analysis of 75 Davis Langdon offices in support of
             AECOM’s merger and acquisition negotiation.

      Responsibilities
          Maintaining and promoting client relations.
          Handling key aspects of project execution for complex, large or sensitive projects.
          Setting standards for project manager performance.
          Hiring, training and supporting project management personnel.
          Establishing and meeting quarterly and annual revenue projections.
          Creating strategies for business development and marketing.


  The Staubach Company ‐ Vice President, Project Management ‐ 2003 to 2008
  Joined The Staubach Company six months after Staubach opened its Los Angeles office to establish
  and lead its Los Angeles project management practice. Recruited and trained project managers to
  support The Staubach Company’s tenant representation model. Established and maintained internal
  relationships with Staubach real estate brokers. Reported directly to Los Angeles franchise owner and
  corporate leadership in Dallas, Texas.

      Representative Clients and Projects
          Experian Headquarters – 350,000 SF C/S & TI; 800‐car parking garage, Costa Mesa, CA.
          Golden State Foods HQ and Distribution Center – 290,000 SF TI, City of Industry, CA.
          Metrocities Mortgage – 70,000 SF TI in Sherman Oaks Galleria, Sherman Oaks, CA.
      Responsibilities
          Implementing TSC corporate practices, procedures and documents for Los Angeles.
          Recruiting & hiring.
          Client satisfaction for all Staubach project management engagements.

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  EXPERIENCE‐ ARCHITECTURE

  Cannon Dworsky ‐ Associate, Architectural Project Manager ‐ 2001 to 2002
  Hired to lead Los Angeles’s corporate commercial architectural practice. Reported directly to Cannon’s
  local business unit leaders. Responsibilities included management of multiple design teams; client
  relations, client contracts and fee proposals; project staffing and project profitability; quality control,
  document coordination, design coordination, consultant coordination. Notable projects include the
  expansion of Daniel Freeman Memorial Hospital in Inglewood, CA, and Cannon Dworsky’s new lobby
  level office at 1901 Avenue of the Stars in Century City.

  DMJM Keating ‐ Senior Project Manager ‐ 1994 to 2001
  Reported directly to Los Angeles business unit leaders. Responsibilities included management of
  multiple design teams; client relations, client contracts and fee proposals; project staffing and project
  profitability; quality control, document coordination, design coordination, consultant coordination;
  advising clients on bid procedures, contract types, budget control and scheduling. Notable projects
  include multiple developer high‐rise office towers in Jakarta, Indonesia, Expansion of City Walk at
  Universal Studios, and multiple Wyndham Hotel renovations in Southern California.

  Keating Mann Jernigan Rottet ‐ Architectural Project Manager ‐ 1989 to 1994
  Led design and technical teams on large scale architectural projects. Notably, project leader and
  client’s single point of contact for Hewlett‐Packard’s 21‐story corporate headquarters tower in
  Atlanta, GA. Managed design team in Los Angeles and coordinated directly with local Atlanta architect
  of record; oversaw all technical aspects including construction administration.

  EDUCATION
      Cornell University – Five‐year Bachelor of Architecture Program 1982‐1987
      Phoenix Institute of Technology – Two‐year Architectural Drafting Program 1979‐1981

  MEMBERSHIPS
     Urban Land Institute
     CoreNet
     City Club




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DANA BARBERA – RESUME SUPPLEMENT


INTERNATIONAL PROJECT DEVELOPMENT EXPERIENCE

Developed and led an international building program representing an investment of over 500 million dollars
in design, construction, furniture procurement and equipment, delivering over 40 Class A buildings on five
continents, in less than 10 years. The program was supportive of a parallel real estate acquisitions program.

Key components to the program’s success with schedule, budget and quality control were:

       Establishing clear distinctions between core services and local services; instituting communication
        protocols and contractual obligations between the two.
       Creating repeatable standards for targeted aspects of the program including due diligence, design,
        contracts, oversight and reporting.
       Negotiating or competitively bidding volume discounts.


REPRESENTATIVE PROJECT EXPERIENCE
Kaohsiung, Taiwan
No. 329, Qixian 2nd Road, Qianjin District, Kaohsiung City, Taiwan 801
Project description: Located in a densely populated urban location, the project consisted of a 14‐story top to
bottom renovation of an existing hotel constructed in early 1980’s. The renovation included replacement of
the building’s exterior cladding and glazing and new elevators in relocated positions and full replacement of
all the buildings systems. Client’s program included classrooms, meeting rooms, offices, two floors of
dormitory‐style residential accommodations, underground parking with access via car elevator, an
auditorium seating 200 people, commercial kitchen, and a state‐of‐the art recording studios for translation
work.

       Early feasibility studies determined that the building was less expensive to convert than to tear down
        and rebuild.

       Due diligence was done quickly and limited to seismic testing, as none of the building systems
        functioned and/or were under capacity.

       The project's change of use required a seismic upgrade. Working with local engineers we arrived at
        the solution of adding 22 perimeter columns, avoiding the addition of internal shear walls,
        maintaining the area needed to keep the programed floor layouts intact.
Budget: The project’s budget was maintained and the project was completed within the original estimate.
Costs were kept low by competitively bidding three local Taiwanese contractors in lieu of “international’
contractors based in Singapore with ties to Japan or the UK, as is often the norm for international work.
Quality Control: Quality control was maintained throughout all aspects of the project through various means
including: maintaining direct communication between design architect and local architect, hands‐on control
of subcontractors during monthly, two‐week long site visits, shepherding millwork development drawings
(created in the U.S.) to Taiwan, then directly coordinating production on the ground in Foshan, China.
Schedule: A fast track schedule was established and maintained by negotiating partial permits with the
Kaohsiung city officials, competitively bidding the schedule as a pre‐requisite for general contractor selection,
and heavily monitoring onsite manpower.
Organization/reporting: All professional leadership reported to Mr. Barbera and Mr. Barbera reported to the
client.


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DANA BARBERA – RESUME SUPPLEMENT


Pretoria, South Africa
722 Stanza Bopape St, Pretoria, 0083, South Africa
Project Description: Located within walking distance of the country’s Union Building (equivalent to our White
House) and surrounded by foreign embassies, this campus‐style facility is located on a historical two‐acre site
consisting of five separate buildings. The project became a challenge when the client decided to make
significant programmatic changes during construction without modifying the building’s opening date.
Budget: Implementing the required modifications required full time representation on site for four months to
minimize the cost impact of the changes. During this period, Mr. Barbera lived in Pretoria and worked with
the general contractor and the local tradesmen directly to minimize demolition scope and to control the
impact of the changes on the existing building systems while construction continued.
Schedule: To ensure the original building schedule was maintained, Mr. Barbera worked with the local
contractor to arrive at various ways to offset the time lost by the late revisions. This included changing the
lighting specifications to more readily available products and introducing the use of high‐tech, mechanically
applied plaster systems in lieu of the originally planned hand troweled plaster.
Quality Control: Close attention to quality was maintained through various means including, but not limited
to: research into local means and methods to produce millwork consistent with the program’s standards,
hands‐on control of subcontractors through on site daily inspections, pre‐construction mock‐ups for finishes
before implementation.
Organization/reporting: Mr. Barbera was on site full time every day. The local general contractor reported to
and coordinated with Mr. Barbera and Mr. Barbera reported directly to the client.


Costa Mesa, California
Experian North American HQ, 475 Anton Blvd, Costa Mesa, CA 92626
Project Description: Three connected four‐story buildings comprised 350,000 square feet of office space
surrounding an internal landscaped area, forming a corporate campus. An adjacent 600‐car parking garage
was built simultaneously, and was also under the direction of Mr. Barbera.
Budget: The estimated budget for the project was managed throughout with a heavy emphasis on
subcontractor selection process. As the bids were awarded, savings were rolled back into the budget to build
owner’s contingency.
Schedule: To minimize the overall schedule duration, the project was constructed on a fast‐track, GMP basis;
steel erection began while the interiors were in progress. The adjacent garage was bid separately on design‐
build basis.
Quality Control: Quality control was maintained throughout by a variety of means, including instituting an
owner’s authorization‐to‐award process for contracting subcontractors.
Organization/reporting: Mr. Barbera was the project leader, directed all professionals and contractor
leaders, chaired weekly job meetings, led subcontractor interviews and directly bid all owner purchases
including A/V, Security, Data/Tel, FF&E. A full time on‐site project manager in the construction trailer
reported directly to Mr. Barbera. Mr. Barbera reported directly to the client.




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DANA BARBERA – RESUME SUPPLEMENT


Jakarta, Indonesia
Sinarmas MSIG ‐ Jl. Jend Sudirman Kav 21, South Jakarta, Indonesia
Project description: Located in the center of Jakarta, this 48 story speculative office tower is one of the tallest
buildings in Indonesia. The project was one of three tower projects for the same developer client, PT Dutta
Anggada Group.
Budget: As a developer building, the key to cost effective design is the ratio of rentable floor area to overall
building components. Mr. Barbera participated in intensive local code reviews finding ways to achieve
maximum rentable to gross area ratio.
Quality control: The primary challenge for the project in this area was bringing United States technical
expertise to a local development team in Indonesia. Mr. Barbera led the design team performing work in Los
Angeles, then led project’s local consultant team to complete the permit drawings and bid documents,
incorporating local techniques, products and methodologies, while maintaining coordination with U.S.
structural and MEP engineers.
Schedule: The project was completed through permitting and bidding, with cost evaluations and
modifications during the bid phase. Work continued through excavation and pouring of the foundation
before stalling when the Southeast Asia currency crisis occurred. The building was completed at a later date.
Organization/reporting: As the project’s lead architect during the year‐long development phase, Mr. Barbera
spent two weeks of every month in Jakarta working with the local team of consultants and builders.


Atlanta, Georgia
Hewlett‐Packard HQ, 20 Perimeter Summit, Atlanta, Georgia
Project description: Located in the northern portion of Atlanta, this 22‐story office tower was the vision of
Hewlett‐Packard’s west coast head of real estate. Prior to this tower with its developer driven efficiencies,
Hewlett‐Packard had only built campus type environments. The new model was designed to facilitate an exit
strategy so that when the time comes for new real estate needs, the building is viable for resale.
Quality control: Mr. Barbera managed the Los Angeles design and consulting teams throughout the design
development stages and then traveled to Atlanta every two weeks to ensure that the local consultant and
architectural teams maintained the high standards and expectations set by the LA design group and HP’s
corporate leaders. Mr. Barbera established criteria for all mock‐ups, including extensive onsite mock‐ups for
concrete approval, curtain wall mock‐ups and pressure testing.
Budget control. Mr. Barbera participated in the selection of the general contractor prior to design completion
and worked with them directly to create and maintain the project’s cost model in accordance with HP
direction on costs.
Organization/reporting: The architectural team in Los Angeles and Atlanta reported to Mr. Barbera. Mr.
Barbera had architectural approval authority on‐site on behalf of HP throughout the construction phase of
the project’s development. Mr. Barbera reported to the client and to the firm’s in‐house partner‐in‐charge.




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DANA BARBERA – RESUME SUPPLEMENT




Atlanta, Georgia                            Jakarta, Indonesia              Costa Mesa, California


Moscow, Russia
Ul. Taganskaya, 9. Moscow, 109147
Project description: Located along Moscow’s Garden Ring approximately one mile from Red Square, the
project consisted of renovating and connecting two freestanding buildings. The project was part of the
international program run by Mr. Barbera, with standards set for classrooms, office spaces and assembly
areas. In addition to the physical complexities of the project, concerns were raised regarding potential
problems arising from corruption in the building industry, prevalent in Moscow at that time. This and the
owner’s tight schedule necessitated boots‐on‐the‐ground involvement at the project’s early stages to ensure
that the project was properly initiated.
Mr. Barbera spent eight weeks in Moscow interviewing local engineers, contractors and management
resources to determine contracting options and establishing communication protocols. He also sourced legal
translations for local contracts and coordinated all this with the client’s legal representation.
Budget: In addition to conducting a detailed bid process and multiple interviews with local builders, unique
aspects of budget control extended to: working closely with local engineers to establish a design‐build basis
for MEP bidding and construction, negotiating a cap on city fees for relocating existing below ground steam
distribution, and finding the most cost effective international furniture delivery process for shipping Italian
products into Russia without incurring excessively high tariffs.
Organization/reporting: All professionals reported directly or indirectly to Mr. Barbera. Mr. Barbera reported
directly to the client.




                                                                                                        .

Kaohsiung, Taiwan                 Moscow, Russia                         Pretoria, South Africa




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PROJECT
MANAGEMENT
EXPERT OWNER REPRESENTATIVES




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  LEADING WITH PURPOSE                                              OUR SERVICES
  We are the project management specialists                           PROJECT & PROGRAM MANAGEMENT
  you want representing your interests from                           Advocating for you interestes through every phase
  concept through completion.                                         of project planning and execution.

  We don’t just deliver projects that are on time and within
  budget, we deliver projects that exceed the expectations
  of our clients time and again. We customize our approach            DEVELOPMENT MANAGEMENT
  to meet each client’s specific needs and priorities,                Expert insights and oversight to mitigate risk and
  creating buildings and spaces that are beautifully                  maximize value from concept to close-out.
  designed, well built, and operate at peak efficiency.
  Providing the breadth of experience that world-class
  project management requires, our multi-disciplined                  COMMISSIONING & ENERGY
  team possesses the necessary skill sets to support                  Ensuring your buildings, spaces, and systems
  our clients through all aspects of their capital projects.          perform optimally and generate energy savings.
  Our seasoned professionals have deep backgrounds
  in architecture, engineering, construction, real estate,
  operations, and financial management allowing us to
  assist in whatever area your project requires.                      PLANNING & ADVISORY
                                                                      Strategic insights to inform comprehensive asset
  With Colliers on your team, you can be confident that
                                                                      improvement, planning, and execution.
  your project is on track, leaving you free to focus on
  what you do best.


WHY COLLIERS > KEY DIFFERENTIATORS                                  BENEFITS

                    HANDS-ON APPROACH                               SAVE TIME
                   Highly responsive and collaborative, we          Establish key project milestones and identify critical path
                   look to become an extension of your team.        issues that could create delays before they materialize.


                    TECHNICAL EXPERTISE                             SAVE MONEY
                   Multi-disciplinary specialists and certified     Reduce overall project costs with design critiques and
                   experts on staff for any technical need.         competitive bidding strategies that provide options for
                                                                    maximizing value.


                    LONG-TERM EXPERIENCE                           BE GREEN
                   Experts in guiding owners through com-          Develop a holistic energy management plan for your build-
                   plex projects for more than 30 years.           ings to reduce consumption, improve pricing, and extend
                                                                   the useful life of equipment.

                                                                                               Exhibit Page 133
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EXAMPLE PROJECTS                                   Main Document    Page 134 of 153


RESIDENTIAL, MULTI-FAMILY                                           HIGH RISE, MIXED USE




  12362 MATTESON, CULVER CITY, CALIFORNIA                            45 EAST 22ND STREET CONDOMINIUMS
  Project management services for a 32-unit apartment                Construction oversight of the new 90-unit, 58-floor
  building.                                                          residential development in New York City.


CULTURAL & NON PROFIT                                               HOSPITALITY




  UNITED ARTIST THEATER                                              THE JEREMY HOTEL
  Replacement and upgrade of the downtown Los Angeles,               Project management services for the 286-room Starwood
  CA theater’s original 1923 HVAC and mechanical system.             Hotel in West Hollywood, California.


CORPORATE                                                           INDUSTRIAL & MANUFACTURING




  EXPERIAN NORTH AMERICAN HEADQUARTERS                               FARREL POMINI CORPORATION
  Interior fit-out of the 350,000 gsf office building and            Evaluation and project oversight for construction of a new
  600-car parking garage in Costa Mesa, California.                  182,000 gsf office and manufacturing facility.

                                                                                                Exhibit Page 134
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                   PROJECT OFF TRACK?
                           Come talk to us for:

                         Objective Advice
                         Owner Advocacy
                         Schedule Management
                         Cost Control Measures

         Colliers will conduct a thorough
         investigation and establish a plan to
            get your project back on track.

                                  DANA BARBERA
                                  SENIOR DIRECTOR
                                  PROJECT MANAGEMENT,
                                  SOUTHERN CALIFORNIA

         EMAIL		 dana.barbera@colliers.com
         MAIN     		         +1 213 627 1214
         MOBILE     		       +1 323 317 0080


                                 865 South Figueroa Street
                                 Suite 3500
                                 Los Angeles, CA 90017
                                 www.cplusa.com         Exhibit Page 135
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Development Management Services




Helping you to develop sites or re-purpose existing buildings into higher performing
assets, all while protecting your interest and exposure.
                                                       With years of experience on a variety of complex development project
Services Provided                                      types, uses and sizes, Colliers will manage the pre-development
                                                       process and guide you through the evaluation and development of
> Feasibility studies & due diligence                  options and their respective implications for the specific issues and
> 	 Zoning & regulatory constraints, reviews &        goals of your project.
     approvals, entitlements
                                                       RISK Management, identification, assessment, avoidance,
> Site selection, assembly & reviews
                                                       mitigation and protection, is what we offer to owners, developers
> Budgets, hard & soft cost implications of
                                                       and institutions.
     alternatives
> 	 Facilitating & introducing partnerships / JVs     Navigating from an initial project idea through the complex labyrinth
> Air rights transfers                                 of designing and constructing a project within a budget and schedule,
> Develop cash flow models                             yet meeting the market expectations is an extremely demanding task.
> Development of options & alternatives                Once a project is conceptualized, the establishment and management
> Assist in ownership vs. leasing scenarios            of a unified design team and other essential consultants, the
> 	 Configuration scenarios and pro formas            development of accurate budgets and schedules (more importantly,
                                                       the maintenance and continual analysis of them) all require a dedicated
> Phasing & schedule development
                                                       team with the tested experience and the encompassing knowledge
> Building the right project team
                                                       to guide a project through to its successful completion. We are that
> 	 Managing & overseeing the design & construction   team, let Colliers help make your project goals a reality!
     process
> Investment advisory services




                                                                                             Exhibit Page 137
Visit www.cplusa.com
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                               Exhibit D
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 4   TEL: (818) 998-3300 FAX: (818) 998-3344

 5   Attorneys for Defendants
 6   Glenroy Coachella, LLC, Force Rubin, LLC,
     and Force Rubin 2, LLC,
 7
 8
 9                            SUPERIOR COURT OF STATE OF CALIFORNIA
10
                                       FOR THE COUNTY OF RIVERSIDE
11
     U.S. REAL ESTATE CREDIT                     ) CASE NO.: RIC1905743
12                                               )
     HOLDINGS III-A, LP, an Irish limited
                                                 )
13   partnership,                                ) [Assigned to Hon. Sunshine S. Sykes,
                                                 ) Department 6]
14                                               )
                 Plaintiff,
                                                 ) DECLARATION OF A. STUART RUBIN
15                                               ) IN SUPPORT OF DEFENDANT
          v.                                     ) GLENROY COACHELLA, LLC’S EX
16
                                                 ) PARTE APPLICATION FOR AN
17   GLENROY COACHELLA, LLC, a                   ) ORDER AUTHORIZING PROTECTIVE
     Delaware limited liability company; et al., ) ADVANCE AND RECEIVER
18                                               ) CERTIFICATE, ETC.
                                                 )
19               Defendants.                     )
                                                 ) [Ex parte application and Declarations of
20                                               ) Elliot Lander, Renzo Renzi, Dana Barbera,
                                                 )
21   AND RELATED CROSS ACTIONS.                  ) Laurence Berman, Marvin Weiss, Joseph
                                                 ) Rubin, Ian Waddell and Patrick C.
22                                               ) McGarrigle and Exhibits Thereto Filed
                                                 ) Concurrently Herewith]
23                                               )
                                                 ) Date:     December 14, 2020
24                                               ) Time:     8:30 a.m.
                                                 ) Dept.:    “6”
25                                               ) Confirmation   Number: RES241685
26                                               )
                                                 ) Complaint Filed: November 19, 2019
27                                               )

28

                                    1
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
                            PARTE APPLICATION          Exhibit Page 139
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 1                                 DECLARATION OF A. STUART RUBIN
 2            I, A. Stuart Rubin, do hereby declare:
 3            1.       I have personal knowledge of the facts set forth herein and, if called upon,
 4   could and would competently testify thereto under oath.
 5            2.       I have approximately 36 years of broad-based real estate investment
 6   experience and have been involved in over 100 transactions involving approximately $1
 7   billion of real estate. I am also Chairman of Realty Partner’s Investment Committee. I am
 8   a part owner of L&R Auto Parks, Inc. (dba Joe’s Auto Parks, 5 Star Parking, Wally Park,
 9   All Star & Valet Parking) in Beverly Hills, California, a company founded by my father
10   and other partners in 1959. I am not active in management of this business.
11            3.       I served as the Chief Executive Officer of the largest privately held parking
12   company, employing nearly 6,000 people, for over six (6) years. I was a primary investor
13   and founder of The Private Bank of California, which was a publicly traded company.
14   When formed, The Private Bank of California was the largest de novo offering for a
15   financial institution at that time. I served on the senior loan committee of The Private
16   Bank of California for seven years and held several other positions until its sale in 2013.
17            4.       For over eight years, I was involved in the purchase and operation of the
18   Vagabond hotel chain of 55 hotels which had its own management and central
19   reservation system.
20            5.       I was the president of RP Realty Partners, which is a real estate investment
21   company, until March of 2020. I was responsible for setting the strategic direction of the
22   company and was involved in all major acquisition, financing, repositioning, asset
23   management and disposition decisions. RP Realty Partners is an investor in “mid-market
24   properties” of $10-$100 million. During the time I was involved with it, I was involved in
25   over 100 real estate projects in which RP Realty Partners was a purchaser, seller, lessor
26   or lessee, or was financing and refinancing these projects. For over eight years, I was
27   involved in the purchase and operation of the Vagabond hotel chain of 55 hotels which
28   had its own management and central reservation system.

                                    2
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
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 1            6.       I received Bachelor of Science degree in Business Administration from the
 2   University of Southern California.
 3                                              Background with the Project
 4            7.       I have been actively involved with the property located at the Southeast
 5   Corner of Avenue 48 and Van Buren Street, Coachella, California (the “Property”) since
 6   approximately 2008. Since that time, I have been personally involved in all of the
 7   milestone events related to the acquisition of the Property, its rezoning from residential to
 8   General Commercial, the approval of the Development Agreement with Gary Stiffelman
 9   (“Stiffelman”) for the Property, the decisions to enter into the material agreements
10   related to construction of a hotel and other improvements on the Property (the “Project”)
11   and other material agreements related to the Property and Project with Stiffelman. I am a
12   member and the Manager of Glenroy Coachella Holdings, LLC (“Glenroy Holdings”), a
13   Defendant in the action filed by Plaintiff U.S. Real Estate Credit Holdings III-A, LP
14   (“Plaintiff”). I have been personally sued by the Plaintiff in this action because I signed a
15   personal guarantee on the loan made by the Plaintiff and any deficiency on that loan.
16            8.       In 2008, the Property was acquired for approximately $23,000,000. I was
17   an investor of the participating group for the equity used by the borrower to purchase the
18   Property, and a member of the limited liability company that originally acquired the
19   Property. The original borrower defaulted, and the investors abandoned the Project and
20   bank debt, and I was asked to step in and cure the debt and pay off the note. When that
21   entity could not successfully develop the site, I took steps to find other investors and,
22   together with these new investors, repaid the entity that lent the funds to acquire the
23   Property.
24            9.       Since 2008, I have been actively involved in trying to develop the Property.
25   From 2008 to 2014, the economic climate in the Inland Empire and the Property’s zoning
26   meant that developing the Property did not make sense.
27            10.      As these conditions changed in 2014, Stiffelman and I began planning for
28   use of the site as a hotel. Planning and development of the site took place from 2014 to

                                    3
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
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 1   2016. In May of 2017, the site grading permit was issued and site work on the Property
 2   began in the fourth quarter of 2017.
 3            11.      Many of the construction permits for the Project were pulled in late 2017
 4   and early 2018. Thereafter, construction began. Based on feedback and demands from the
 5   city, developers, and hotel operator, and the desire to create a world-class development,
 6   improvements and changes in scope to the Project were made.
 7            12.      The changes in the Project’s scope were described on September 6, 2019 by
 8   my partner in the Project, Gary Stiffelman, in an email and included the following
 9   changes to the Project: doubling the size of the conference center; enlarging the pool;
10   adding city-mandated poolside structures to accommodate additional bathrooms,
11   changing rooms and showers and additional piping so that the water pressure to the site
12   was adequate; and adding a new poolside restaurant and building to house pool
13   equipment.
14            13.      Most importantly, the rooms and villas were reinvented, at Stiffelman’s
15   behest, with construction being shifted from pre-manufactured structures to ground-up
16   buildings, and the guest rooms being enlarged by over 30%, including enlarging the
17   common area rooms and ceiling heights, adding a powder room to the six-bedroom units
18   and purchasing expensive custom furniture for the rooms. Multiple linen closets for
19   housekeeping were also added. Other buildings were also expanded: the quick service
20   market was increased from 2,600 square feet to 3,250 square feet, the back of house
21   service building was increased from 5,000 square feet to 8,000 square feet and a two-
22   story gym with a juice and coffee bar totaling 7,000 square feet were added. A new
23   convention building was redesigned and changed by Stiffelman in conjunction with the
24   hotel company.
25            14.      We believed that these changes collectively would create a world-class
26   luxury hotel in Coachella and make the Project much more attractive, and improve and
27   expand the Project’s revenue opportunities.
28

                                    4
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
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 1            15.      The owners of the Property contributed over $30,000,000 of their own
 2   monies to acquire and develop the Project, including to pay for costs related to changes in
 3   the Project’s scope. These investments have taken the form of personal investments, or
 4   personal guarantees of loans for monies that were used for the Property or Project.
 5            16.      I have spent thousands of hours on this Project. Since late 2017 or early
 6   2018, I and Mr. Stiffelman have worked on the Project without payment. Dr. Lander has
 7   worked on the Project without being paid for his work.
 8          Agreements Entered into for the Project that Are Threatened by Inaction
 9            17.      In 2018, Glenroy Coachella LLC (the “Hotel”) entered into a license
10   agreement with Holiday Hospitality Franchising, LLC to allow the Hotel to be operated
11   and branded as a Hotel Indigo® property. Holiday Hospitality Group is part of
12   InterContinental Hotels Group (“IHG”). It took over four (4) months to negotiate this
13   license agreement with IHG, which took place after we spent months identifying which
14   hotel licensing group would best serve the Project. Having IHG act as the franchisor for
15   the Hotel on the Project is a valuable asset. IHG is a valuable brand, because consumers’
16   purchasing decisions for hotels are influenced by the reputation such brands represent and
17   the positive message the IHG brand communicates about the Hotel and its reputation and
18   services. There is another tangible benefit to have IHG brand the Hotel. The marketplace
19   for hotels in this area is crowded and the IHG brand for the Hotel allows it to distinguish
20   it from its competitors and make the Hotel stand out. IHG also has one of the largest
21   customer loyalty memberships and its own reservation systems, both of which add value
22   to the Hotel and the Project.
23            18.      IHG has notified the Hotel that it is in default under the licensing
24   agreement because construction was not finished in a timely manner. Unless this default
25   is cured, the Project will lose a valuable asset. The Hotel has received an extension to
26   cure this default until December 17, 2020. On December 2, 2020, I received an email
27   from the Receiver which enclosed a November 10, 2020 letter from IHG, wherein the
28   Receiver asserted that “we have no means by which to cure the default and as such the

                                    5
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 1   termination would take effect as outlined in the letter.” In other words, after 12+ months
 2   of the receivership, the Receiver and Plaintiff confirmed that they have no interest in
 3   causing the recommencement of construction and pointed to no action taken by them to
 4   ensure that the License Agreement with IHG would be protected and preserved. A true
 5   and correct copy of the Receiver’s December 2, 2020 email and its enclosed letter from
 6   IHG of November 10, 2020 are attached hereto as Exhibit __ and are incorporated herein.
 7   As discussed below, in response to the Receiver and Plaintiff’s December 2nd notification
 8   that they would not be taking any action to protect and preserve this asset, Mr. Lander
 9   and I discussed the Protective Advance from EFO Financial Group, LLC (which has
10   already committed to fund the Project in the sum of $51.9M if a global resolution could
11   be achieved) to allow for the recommencement of construction to cure the IHG default
12   and, as noted below, also avoid the expiration of the valuable Development Agreement
13   with Coachella for the Project.
14            19.      As part of the Project, Glenroy entered into a Development Agreement with
15   the City of Coachella (“Coachella”) permitting the Project to proceed. The Development
16   Agreement is a valuable asset. Not only does it allow the Project to proceed, as part of the
17   Development Agreement, Glenroy received a Transient Occupancy Tax (“TOT”)
18   abatement of $25 million for a twenty (20) year period, plus other favorable entitlements.
19            20.      The City of Coachella and Glenroy entered into a First Amendment to the
20   Memorandum of Understanding, a true and correct copy of which is attached as Exhibit 2
21   hereto and incorporated fully herein. Paragraph 4 requires permit reactivation by January
22   1, 2011, and Paragraph 3 requires that the Glenroy Resort be an active worksite by
23   January 31, 2021. Unless these progress benchmarks are achieved, the City of Coachella
24   can, within 48 hours, hold an appeal hearing for the termination of the Memorandum of
25   Understanding. If this takes place, the valuable entitlements for the Project will be lost
26   and Glenroy will be unable to complete the development of the Project, wiping out our
27   equity to our great prejudice. The Receiver and Plaintiff’s inaction to preserve and
28

                                    6
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
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 1   protect these entitlements presents an immediate and irremediable risk of permanent loss
 2   of valuable assets to the Hotel and the Project overall.
 3                          Status of Construction on the Project at Present and
 4                      Deterioration of Property If Construction Does Not Start
 5            21.      The last advance made by the Plaintiff for the Project took place in
 6   December of 2018. Construction on the Project stopped in January of 2019. Even with all
 7   of these changes in scope, phase one of the Project, which is approximately 150 rooms, is
 8   approximately 60-65% complete, with framing and shells for the majority of the
 9   commercial buildings and casitas complete, and the initial groundwork on the pool
10   complex complete.
11            22.      Although 60-65% of the overall construction in phase one has been
12   completed, the hotel is close to opening. To explain why this is true, it is important to
13   understand the nature of the hotel that was designed and built at the Property. Most hotels
14   are vertical buildings, which means that the entire building must be completed before the
15   hotel can open. The hotel at the Property is a horizontal development of 51 casitas, which
16   means that the hotel can be opened in stages as groups of the casitas are developed. These
17   51 casitas on the Property are luxury bungalows which are configured in two, four and
18   six room configurations that are one-story and separated 15-25 feet from one another.
19   The casitas at the Property may have two separate hotel rooms, other casitas may have
20   four rooms and others may have six rooms. An individual hotel room in these casitas is
21   also referred to as a key.
22            23.      Out of the initial 250 hotel rooms in these casitas, 150 are very close to
23   being finished, and 70 of the 250 hotel rooms are 85-90% complete. Another 80 rooms
24   are 70% complete and will be done in 90 days. Since the hotel can be opened in stages
25   because of its horizontal design, when the first 150 rooms in these casitas are ready, the
26   hotel can start generating revenue. The remaining 100 rooms are framed and have roofs
27   on them, and will be finished within nine months after construction begins again.
28

                                    7
        DECLARATION OF A. STUART RUBIN IN SUPPORT OF GLENROY’S EX
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 1         How the Receiver and Calmwater Damaged the Project Since Taking Over.
 2            24.      As of the date the Receiver Edwin Leslie (“Receiver”) was appointed on
 3   November 27, 2019, the Property’s property taxes were current and were not yet in
 4   default. The Property’s property taxes were due on November 10, 2019. A ten percent
 5   penalty is imposed for payments made thirty days later, beginning December 11. Despite
 6   being appointed on November 27, 2019, the Receiver failed to pay the Property’s
 7   property taxes until after December 11, incurring penalties of $62,558.64.
 8            25.      Property taxes for the Property were again due on March 10, 2020, with ten
 9   percent penalties imposed beginning April 11. The Receiver also failed to timely pay
10   these property taxes, incurring additional penalties of $62,558.64.
11            26.      If the property taxes on the Property are not paid, the City of Coachella can
12   argue that the Development Agreement between the borrowers and the City of Coachella
13   should be voided, and we will be unable to complete the development of the Project. The
14   Plaintiff in this action was provided with this Development Agreement as part of
15   applying for a loan for construction.
16            27.      The Receiver’s inaction concerning the Property taxes repeated itself again
17   recently. On November 24, 2020, the Receiver sent an email to myself and others (Ex. 3
18   hereto is a true and correct copy thereof and Gary Stiffelman’s response) asking (just 2
19   weeks before the first installment of property taxes were due for ’20-’21) whether
20   ownership would be funding the taxes due. The Receiver made no disclosure of the
21   Plaintiff’s position on the subject or whether the Receiver had even inquired of the
22   Plaintiff concerning payment. Surprised by the Receiver’s lack of diligence and
23   insufficient information, I immediately reached out to EFO to ascertain whether it would
24   be willing to make a protective advance with a first position Receiver’s Certificate to
25   fund the sums necessary to pay the first installment of the property taxes; EFO was
26   willing to do so notwithstanding the short notice. I communicated as much to Plaintiff’s
27   principal, Mr. Kilcoin, but received no response. Our counsel wrote to the Receiver’s
28   counsel on November 29, 2020 and notified him of EFO’s offer, a true and correct copy

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 1   of our counsel’s letter to the Receiver is attached hereto as Exhibit 4 and is incorporated
 2   fully herein. Notwithstanding our efforts to solve the problem created by the Receiver’s
 3   very late notification, the Receiver’s counsel then rejected our efforts and claimed that
 4   the Plaintiff would advance the sum for the taxes.
 5            28.      When the Receiver took over the Property, the lawn on the ten (10) acre
 6   concert grounds was green and the trees at the Property were healthy. Since the Receiver
 7   was appointed, I have visited the Property on more than ten (10) occasions. The last
 8   occasion on which I visited the Property was on or about October 12, 2020. The failure to
 9   water this vegetation combined with the Receiver’s failure to employ a landscaper has
10   damaged the vegetation there. The lawn on the polo grounds is dead, with weeds growing
11   in areas that were once green. The perimeter ficus trees have been damaged or are dead,
12   and the three (3) palms near the pool area are dying or dead. Between $150,000 and
13   $200,000 was incurred to install this vegetation, including the grass.
14            29.      Before the Receiver took over, the Project was insured. This insurance was
15   obtained from a well-known brokerage firm, Willis/Towers. The Receiver allowed the
16   insurance for the Project to remain unpaid and I received a notice that the insurance was
17   pending cancellation. Although the Receiver was made aware of this situation, I received
18   an email from the Receiver informing me that he understood that the insurance was
19   pending cancellation and the Receiver was waiting for the Plaintiff to loan funds to pay
20   the insurance premium and bring them current to reinstate coverage.
21            30.      Glenroy paid approximately $320,000 to the furniture manufacturer for
22   custom-made furniture used for the Project. The Receiver has threatened to sell this
23   custom-made hotel furniture at public auction. Doing so will yield a fraction of its value.
24   If this furniture is sold before we secure re-financing, we will have to repurchase this
25   furniture, or pay to have it replaced at substantial additional expense.
26                The Plaintiff and the Receiver’s Conduct Causes Prejudice to Me.
27            31.      Since his appointment, the Receiver has not disclosed any construction
28   recommencements or a plan or budget for any future construction at the Project, and has

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 1   not engaged me in any discussions regarding future construction. The Receiver has not
 2   disclosed any financing commitments to me for any future construction at the Project, or
 3   any efforts to seek any financing commitments. Instead of efficiently and effectively
 4   concluding the Project for everyone’s benefit, the Receiver’s conduct has caused the
 5   Project to be burdened by unjustified costs and fees.
 6            32.      Unless prevented from doing so, given the lack of any activity by the
 7   Receiver to move the Project forward, and his allowing the Project’s licensing agreement
 8   with IHG and the Development Agreement with the City of Coachella to go into default,
 9   the Project will fail.
10            33.      This inaction by the Receiver and Plaintiff will further substantially
11   depreciate the value of the Project to my prejudice. Plaintiff has sued me to enforce the
12   personal guaranty that I signed as part of the loan for the Project. In its lawsuit, the
13   Plaintiff is seeking to recover default interest at the rate of 18% per annum on the
14   outstanding loan balance and other items of damages claimed by it, including an unused
15   loan fee because Glenroy did not borrow the entire amount of the loan commitment as a
16   result of Plaintiff having stopped making loan advances to it, the Receiver fees and costs
17   and other damages.
18            34.      I do not think it is fair, and I am prejudiced by the fact that Plaintiff and the
19   Receiver are attempting to increase the Plaintiff’s damages at my and other guarantors’
20   expense by doing nothing, other than to increase the damages sought by Plaintiff.
21                              A Protective Advance of $8,600,000 Will Result
22                        in an Over $26,000,000 Increase in the Project’s Value
23            35.      Based on my substantial experience with real properties, including my
24   experience in the hospitality business, and my efforts over the past three years to obtain
25   funding for the Project, I am knowledgeable and familiar with how hospitality projects
26   are valued. I am also familiar with the construction that will take place if the proposed
27   protective advance is made and how it will affect the Projects’ value.
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 1            36.      Glenroy obtained two appraisals for the Hotel, one in April 2019 and one in
 2   December 2019, from Mark Lukens, the Managing Director of LWHA-LW Hospitality
 3   Advisors (“LWHA”). LWHA provides real estate consulting services to the lodging,
 4   convention and gaming industries, including appraisals, market impact studies,
 5   feasibility/market studies, litigation support and investment analysis. Based on my
 6   experience, LWHA is a well-qualified appraiser of these types of properties.
 7            37.      According to the December 4, 2019 appraisal, the Property had an As Is
 8   value of $52,200,000 in its current state as of December 4, 2019, and a Prospective
 9   Market Value of the Property Upon Completion of Construction would be $84,000,000.
10   A copy of the Lukens declaration and the December 4, 2019 appraisal is attached as
11   Exhibit 5 and is incorporated fully herein. I believe that this appraisal undervalues the
12   Property, because it does not include income from concerts and other activities at the
13   planned convention center at the Property.
14            38.      Glenroy also obtained an opinion of the land value of the Property from
15   Robert Newell, who is a prominent local investor in real properties in Riverside. Mr.
16   Newell has substantial recent expertise with the buying and selling of land in Riverside
17   County, and in real property sales near the Property. Based on his experience, he believes
18   the land value of the Property alone is approximately $800,000 an acre, which translates
19   to $28,000,000 for the land alone at the Property. A copy of the Newell declaration is
20   attached as Exhibit 6 and incorporated fully herein.
21            39.      While I understand that neither the Appraisal nor Mr. Newell’s valuation
22   take into account the current pandemic, their underlying assumptions and conclusions
23   will be valid after the Covid crisis has passed. My opinion that the underlying
24   assumptions and conclusions of the LWHA appraisal will be valid after the Covid crisis
25   has passed is supported by the fact that EFO has prepared a commitment document which
26   sets forth the general terms of a proposed loan for the Project. Under it, EFO would
27   provide $51,900,000 in new financing to pay the current existing senior loan secured by
28   the Property, and pay the costs of finishing construction.

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 1            40.      My opinion that the underlying assumptions and conclusions of the LWHA
 2   appraisal will be valid after the Covid crisis has passed is also supported by the Plaintiff’s
 3   decision to make a construction loan of $24,000,000 to the Project in 2018. Based on my
 4   experience on over 30 projects and industry standards, particularly in the hospitality
 5   space, lenders typically advance 50% of a property’s loan to value. Taking this into
 6   account, the Property at the time of the loan by Plaintiff would have had a value of no
 7   less than $48 million, given the interest reserve, not including borrowers’ equity. This
 8   $48 million valuation was based on an inferior type of construction that was
 9   contemplated when the loan was entered into with Plaintiff in April of 2018, and does not
10   take into account the superior product of ground-up construction that were previously
11   considered, versus pre-fabricated buildings that were constructed at the Project.
12            41.      If nothing is done, the value of the Project will be reduced to its land value
13   of $28,000,000. The construction will be ruined and worthless, the entitlements from the
14   City of Coachella will expire and the agreement with IHG will be terminated. The rights
15   of the lien claimants, too, will be substantially prejudiced by the plans of Plaintiff and the
16   Receiver to allow the Project to fail, despite what they said was the purpose of the
17   Receiver’s appointment and what would be done to preserve and protect this Project.
18            42.      A protective advance of $8,600,000 will result in an increase in a
19   $26,032,160 increase in the Project’s value. As more fully detailed in the September 14,
20   2020 Hotel Indigo Submission For Budget Approval (attached to the Declaration of Dana
21   Barbera), Glenroy has obtained commitments and budgeted estimates to construct the
22   project for $18,500,000 from Dana Barbera of Colliers Project Leaders, a well-regarded
23   construction manager. The $8,600,000 protective advance is 46.486% of the construction
24   costs. Finishing the construction will result in a $56,000,000 increase in the Project’s
25   value, which represents the difference between the value of the Project when construction
26   is completed ($84,000,000) and the land value of the Project of $28,000,000 if nothing is
27   done. The increase in the Project’s value from a protective advance can be determined by
28   multiplying 46.486% (the percentage of total construction covered by the protective

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1    advance) times the increase in value of $56,000,000 (the difference between the
2    completed value of the Project and the land value of the Project), which yields
3    $26,032,160. I believe this increase in value if the protective advance is made is
4    conservative. Finishing the 250 hotel rooms/casitas and their infrastructure is the most
5    substantial step in finishing the construction, and would enhance the value more than the
 6   balance of the construction. Starting and finishing the hotel rooms/casitas already started
 7   will allow Glenroy to cure any defaults in the Development Agreement and its agreement
 8   with IHG.
 9            43.      Restarting work on the Project will also provide jobs to the Coachella
10   Valley work force, will generate tax dollars for the City of Coachella, and income and
11   revenue flow to local businesses that would benefit from this construction.
12            I declare under penalty of perjury pursuant to the laws of the State of California
13   that the foregoing is true and correct.
14            Executed this 10th day of December 2020, at Beverly Hills, California.
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
355 South Grand Avenue, Suite 2900, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled (specify): DECLARATION OF MARSHA A. HOUSTON IN
SUPPORT OF MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 17, 2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

    •   Eryk R Escobar eryk.r.escobar@usdoj.gov
    •   Mark S Horoupian mhoroupian@sulmeyerlaw.com, mhoroupian@ecf.inforuptcy.com;
        ccaldwell@sulmeyerlaw.com
    •   Michael S Kogan mkogan@koganlawfirm.com
    •   Kenneth G Lau kenneth.g.lau@usdoj.gov
    •   James R Selth jim@wsrlaw.net, jselth@yahoo.com; eduardo@wsrlaw.net; gabby@wsrlaw.net;
        vinnet@ecf.inforuptcy.com
    •   Alan G Tippie atippie@sulmeyerlaw.com, atippie@ecf.courtdrive.com; pdillamar@sulmeyerlaw.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Daniel J Weintraub dan@wsrlaw.net, vinnet@ecf.inforuptcy.com; gabby@wsrlaw.net; eduardo@wsrlaw.net

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 17, 2021 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
BY PERSONAL DELIVERY:
Hon. Sheri Bluebond
USBC-Central District of California
255 E. Temple Street
Suite 1534 / Courtroom 1539
Los Angeles, CA 90012

                                                                                             Service information continued on attached page

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

February 17, 2021               Gilda S. Anderson                                               Gilda S. Anderson
 Date                           Printed Name                                                     Signature




             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
